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                Exhibit 1
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NOTICE OF SUIT TO SHERIFF OF ALLEGHENY CO.
You are hereby notified that on 04/08/2021
a COMPLAINT has been fi led in this case
and you are required to serve the same on or before the
07.'07/2021
Michael McGeever, Director
Department of Court Records
                                                     COMPLAINT IN CIVIL ACTION
                    IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
Plaintiff(s)                                                   Case Number:
                                                               GD-21-003685
     NEP Group Holdings inc.,
                                                               Type of pleading:
                                                               Complaint

                                                               Filed on behalf of:
                                                               NEP Group Holdings Inc.

                                                               Simmons James Douglas
                                                               (Name of filing party)
Defendant(s)                                                  VS
                                                                      Counsel of Record
     Vigilant Insurance Company,

                                                                      Individual, If Pro Se

                                                               Name, Address and Telephone Number:
                                                               Simmons James Douglas
                                                               K&L Gates LLP
                                                               210 Sixth Avenue
                                                               Pittsburgh, PA, 15222
                                                               412 3556500




                                An
                                                               Attorney's State ID: 69401




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                                   Michael McGeever, Director Department of Court Records
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    IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA



    NEP GROUP HOLDINGS, INC.,
                                             CIVIL DIVISION
                Plaintiff,
                                             Civil Action No.
                                                                 „D -a Oo 3 WS-
    v.
                                             VERIFIED COMPLAINT
    VIGILANT INSURANCE COMPANY,

                Defendant.                   Filed on behalf of Plaintiff

                                             Counsel of Record for Plaintiff:

                                             Carolyn M. Branthoover (Pa. ID 36580)
                                             Douglas J. Simmons (Pa. ID 69401)
                                             Elizabeth A. Hoadley (Pa. ID 327845)
                                             K&L GATES LLP
                                             K&L Gates Center
                                             210 Sixth Avenue
                                             Pittsburgh, PA 15222-2613
                                             Telephone: (412) 355-6500
                                             Facsimile: (412) 355-6501

                                             Firm No. 148




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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                         CIVIL DIVISION



 NEP GROUP HOLDINGS, INC.,
                                              Civil Action No.
              Plaintiff,
                                              JURY TRIAL DEMANDED
                vs.

 VIGILANT INSURANCE COMPANY,

              Defendant.


                              NOTICE TO DEFEND

                       YOU HAVE BEEN SUED IN COURT.

     IF YOU WISH TO DEFEND AGAINST THE CLAIMS SET FORTH IN THE
FOLLOWING PAGES, YOU MUST TAKE ACTION WITHIN TWENTY (20) DAYS AFTER
YOU ARE SERVED WITH THIS COMPLAINT AND NOTICE, BY ENTERING A WRITTEN
NOTICE OF APPEARANCE PERSONALLY OR BY AN ATTORNEY AND FILING IN
WRITING WITH THE COURT YOUR DEFENSES OR OBJECTION TO THE CLAIMS SET
FORTH AGAINST YOU. YOU ARE WARNED THAT IF YOU FAIL TO DO SO THE CASE
MAY PROCEED WITHOUT YOU AND A JUDGMENT MAY BE ENTERED AGAINST YOU
BY THE COURT WITHOUT FURTHER NOTICE FOR ANY MONEY OR EQUITABLE
RELIEF CLAIMED IN THE COMPLAINT OR FOR ANY OTHER CLAIM OR RELIEF
REQUESTED BY THE PLAINTIFF. YOU MAY LOSE MONEY OR OTHER RIGHTS
IMPORTANT TO YOU. YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT
ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT AFFORD ONE, TELEPHONE
THE OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

                      Allegheny County Lawyer Referral Service
                                400 Koppers Building
                                 436 Seventh Avenue
                           Pittsburgh, Pennsylvania 15219
                                Phone: 412-261-5555
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                         CIVIL DIVISION



 NEP GROUP HOLDINGS, INC.,
                                                     Civil Action No.
                   Plaintiff,
                                                     JURY TRIAL DEMANDED
                       vs.

 VIGILANT INSURANCE COMPANY,

                   Defendant.


                                  VERIFIED COMPLAINT

       NEP Group Holdings, Inc. ("NEP"), by and through its undersigned counsel, K&L Gates

LLP, hereby files this Verified Complaint against Vigilant Insurance Company ("Vigilant"),

alleging as follows:

                                  NATURE OF THE CASE

       1.      This action for breach of contract arises out of NEP's claim for coverage under an

insurance policy sold to it by Vigilant, "Customarq" policy # 3584-70-15 BAL, for the period June

30, 2019 through June 30, 2020 (the "Policy").

       2.      Among other coverages, discussed more fully herein, the Policy provides up to $75

million in coverage for property and "Business Income" losses at over 100 NEP premises in the

United States and across the globe.

       3.      Vigilant accepted substantial premiums from NEP in exchange for providing

insurance coverage for losses caused by any peril not specifically excluded by the Policy's

language.

       4.      Despite the Policy not explicitly excluding coverage for loss or damage caused by

communicable diseases, viruses and related pandemics, and despite NEP's reasonable expectation
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of insurance coverage for such loss or damage, Vigilant has refused to make any payment to NEP

for its losses resulting from "Severe Acute Respiratory Syndrome Coronavirus 2" (commonly

referred to as "SARS-CoV-2") and the "Novel Coronavirus Disease 2019" it causes (commonly

abbreviated to "COVID-19").

       5.      Through this lawsuit, NEP seeks to recover from Vigilant the benefit of the bargain

the parties made in the Policy, and thus to enforce NEP's reasonable expectations of coverage for

loss or damage, like that resulting from SARS-CoV-2 and COVID-19, not expressly excluded.

                                            PARTIES

       6.      Plaintiff NEP Group Holdings, Inc. is a privately-owned corporation organized

under the laws of Delaware and with its principal place of business and corporate headquarters in

Pittsburgh, Pennsylvania.

       7.      NEP provides video and audio production services in support of premier content

producers across the globe, including the production of live sports, entertainment, music and

corporate events.    NEP's technical services include remote production, studio production,

centralized production, audio visual solutions, host broadcast support, post production and

innovative media asset management solutions.

       8.      Defendant Vigilant Insurance Company is a corporation organized and existing

under the laws of the State of New York, with its principal place of business in New York. Upon

information and belief, Vigilant is authorized to do business in the Commonwealth of

Pennsylvania and, at all relevant times, has been engaged in the business of selling insurance and

investigating claims dealing with policyholders, property, or activities located in Pennsylvania.

       9.      Upon information and belief, Vigilant is a wholly-owned subsidiary of Federal

Insurance Company, which is a wholly-owned subsidiary of Chubb INA Holdings Inc., which is
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a subsidiary of Chubb Limited. All of these entities hold themselves out as being members of

the Chubb Group of Insurance Companies (collectively "Chubb"), and Vigilant used

the "Chubb Multinational Claims" group out of Boston, Massachusetts to investigate and

communicate with NEP regarding NEP's claim under the Policy.

                                  JURISDICTION AND VENUE

       10.     Jurisdiction is proper in this Court pursuant to 42 Pa. C.S.A. § 931(a).

       11.     Venue is proper in this Court pursuant to Pennsylvania Rules of Civil Procedure

1006(a) and 2197(a) because Vigilant regularly conducts business here (e.g., Vigilant is licensed

to issue insurance in Pennsylvania, has obtained a certificate of authority from the Pennsylvania

Insurance Department, and regularly does issue insurance, including the Policy, in Pennsylvania),

the cause of action asserted in this Complaint arose here, and the transactions and/or occurrences

out of which the cause of action arose took place here.

       12.     Because NEP demands an amount in excess of $35,000.00, this matter is exempt

from compulsory arbitration pursuant to Allegheny County Local Rule 1303(1).

                                 FACTUAL BACKGROUND

A.     The Policy.

       13.     In exchange for a premium of over four million dollars, Vigilant sold the Policy to

NEP. A copy of the Policy is attached as Exhibit A to this Complaint.

       14.     The Policy provides coverage for the period from June 30, 2019 to June 30, 2020.

       15.     Prior to issuing the Policy, Vigilant had engaged in an underwriting investigation

that gave Vigilant the opportunity to understand the nature and scope of NEP's business and risks.

       16.     The Policy provides insurance coverage to certain real and personal property of

NEP, including one hundred and eight (108) "premises" in the United States and a number of other



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countries across the globe. With respect to the insured premises outside the United States, the

Policy provides "difference in conditions" coverage, as discussed further below.

       17.    The Policy is hundreds of pages long and is comprised of dozens of "forms" and

endorsements. Among others germane to this lawsuit, the Policy's forms include a "Building and

Personal Property" form # 80-02-1000 (Rev. 6-05), a "Business Income With Extra Expense" form

# 80-02-1004 (Rev. 7-03), an "Extra Expense" form # 80-02-1018 (Rev. 7-03), a

"Property/Business Income Global Extension" form # 80-02-1045 (Rev. 2-05), a "Mobile

Equipment" form # 80-02-1047 (Ed. 7-03), a "Broadcasters Extension for Property Insurance"

form # 80-02-1110 (Ed. 10-07), and an "Amended Mobile Equipment Coverage" form # 80-02-

1342 (Ed. 4-94).

       18.    These "forms" were drafted by Vigilant, not NEP.

       19.    The "Building And Personal Property" coverage provides, in part:

              [Vigilant] will payfor direct physical loss or damage to:
              •    building; or
              •    personal property,
              caused by or resultingfrom a peril not otherwise excluded....
Exhibit A, Form # 80-02-1000 (Rev. 6-05) at page 3 of 29.

       20.    The "Building And Personal Property" coverage form also provides several

"Additional Coverages," including a "Preparation Of Loss Fees" coverage, which provides in part:

              [Vigilant] will pay the reasonable and necessary expenses we require you to incur
              after covered direct physical loss or damage to:
              •       building;
              •       personal property;


              to determine the extent of such loss or damage....
Exhibit A, Form # 80-02-1000 (Rev. 6-05) at page 13 of 29.



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       2L      The "Mobile Equipment" coverage provides in part:

               [Vigilant] will payfor direct physical loss or damage to mobile equipment caused
               by or resultingfrom a peril not otherwise excluded,....
Exhibit A, Form # 80-02-1047 (Ed. 7-03) at page 3 of 13.

       22.     The "Business Income With Extra Expense" coverage provides in part:

              [Vigilant] will payfor the actual:
               •      business income loss you incur due to the actual impairment ofyour
                      operations; and
               •      extra expense you incur due to the actual or potential impairment ofyour
                      operations,
               during the period of restoration....
               This actual or potential impairment of operations must be caused by or result
              from direct physical loss or damage by a covered peril to property, unless
               otherwise stated.
The Policy also explains for this coverage:
               Except as otherwise provided, direct physical loss or damage must:
               •      be caused by or resultfrom a covered peril; and
               •      occur at, or within 1,000feet of the premises, other than a dependent
                      business premises, shown in the Declarations.

Exhibit A, Form # 80-02-1004 (Rev. 7-03) at page 3 of 15.

       23.     The "Business Income With Extra Expense" form also provides "Ingress And

Egress" coverage, which states in part:

              [Vigilant] will payfor the actual:
               •      business income loss you incur due to the actual impairment ofyour
                      operations; and
               •      extra expense you incur due to the actual or potential impairment ofyour
                      operations,
              when existing ingress to or egressfrom a premises shown in the Declarations is
              prevented due to direct physical loss or damage by a covered peril to property at
              a location contiguous to such premises.
Exhibit A, Form # 80-02-1004 (Rev. 7-03) at page 4 of 15.

       24.     The "Business Income With Extra Expense" form also provides an "Additional


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Coverage" for "Civil Authority," which states in part:

              [Vigilant] will payfor the actual:
              •        business income loss; or
              •        extra expense,
              you incur due to the actual impairment ofyour operations, directly caused by the
              prohibition of access to:
               •      your premises; or
              •       a dependent business premises,
               by a civil authority.
              This prohibition of access by a civil authority must be the direct result of direct
              physical loss or damage to property awayfrom such premises or such dependent
              business premises by a covered peril, provided such property is within:
              •       one mile; or
              •       the applicable miles shown in the Declarations,

              from such premises or dependent business premises, whichever is greater.

Exhibit A, Form # 80-02-1004 (Rev. 7-03) at pages 5-6 of 15.

       25.     The "Business Income With Extra Expense" form also provides an "Additional

Coverage" for "Dependent Business Premises," which states in part:

              [Vigilant] will payfor the actual:
              •       business income loss you incur due to the actual impairment ofyour
                      operations; and
              •       extra expense you incur due to the actual or potential impairment ofyour
                      operations,
              during the period of restoration ....
               This actual or potential impairment of operations must be caused by or result
              from direct physical loss or damage by a covered peril to property or personal
              property of a dependent business premises at a depended business premises.

Exhibit A, Form # 80-02-1004 (Rev. 7-03) at pages 6-7 of 15,

       26.    No provision in the Policy excludes NEP's claims for coverage for SARS-CoV-2

and COVID-19 related loss or damage.


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       27.       Vigilant did not include in the Policy any explicit exclusion prohibiting coverage

for communicable diseases, pandemics and/or viruses such as SARS-CoV-2 and COVID-19.

       28.       NEP purchased the Policy with the reasonable expectation that it would be insured

against losses, including business interruption losses and extra expense, resulting from perils, like

the SARS-CoV-2 virus and COVID-19, not specifically excluded.

       29.       NEP purchased the Policy with the reasonable expectation that it would be insured

against losses, including business interruption losses and extra expense, when, by action of civil

authority taken in response to perils not specifically excluded, like the SARS-CoV-2 virus and

COVID-19, it was prevented from accessing and operating its premises and personal property as

intended.

       30.       NEP purchased the Policy with the reasonable expectation that it would be insured

against losses, including business interruption losses and extra expense, when its operations at

dependent business premises were impaired or prevented by loss or damage resulting from perils,

like the SARS-CoV-2 virus and COVID-19, not specifically excluded.



B.     What Vigilant Knew Before Issuing The Policy Regarding Coverage for Losses
       Caused By Communicable Diseases, Viruses and Related Pandemics.

       31.       Upon information and belief, prior to issuing the Policy to NEP in June 2019,

Vigilant understood — including through, but not limited to, Chubb's participation in insurance

industry trade organizations — of the potential impact of communicable diseases, viruses and

related pandemics on the coverage obligations of commercial property insurers to their

policyholders.

       32.       Also upon information and belief, Vigilant understood prior to issuing the Policy



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to NEP in June 2019, that, as the drafter of the policies it sold to policyholders, any ambiguity in

the language of its policies on the issue of whether they covered loss or damage resulting from

communicable diseases, viruses or related pandemics would likely be construed against Vigilant.

         33.      Notwithstanding its knowledge, Vigilant did not include in the Policy issued to NEP

in June 2019 an explicit exclusion prohibiting coverage for communicable diseases, viruses or

related pandemics, despite several such endorsements having been widely available and in use by

various insurers, including Chubb, for many years.

         34.      For example, after an outbreak of Severe Acute Respiratory Syndrome ("SARS")

in 2003, various insurers and insurance organizations began to draft exclusions for the purpose of

preventing policyholders from recovering for damage and losses resulting from communicable

diseases, viruses or related pandemics. One such effort was mounted by the Insurance Services

Office ("ISO"), the insurance industry's policy forms drafting organization,1 which prepared and

circulated in July 2006 a circular # LI-CF-2006-175 titled "New Endorsements Filed to Address

Exclusion of Loss Due to Virus or Bacteria."'

         35.      In that 2006 circular, ISO acknowledged that viruses arguably satisfy the "direct

physical loss or damage" language of all-risk property insurance policies, stating:

                  Disease-causing agents may render a product impure (change its quality or
                  substance), or enable the spread of disease by their presence on interior
                  building surfaces or the surfaces of personal property. When disease-
                  causing viral or bacterial contamination occurs, potential claims involve the

  "ISO is a non-profit trade association that provides rating, statistical, and actuarial policy forms and related
drafting services to approximately 3,000 nationwide property or casualty insurers. Policy forms developed by ISO
are approved by its constituent insurance carriers and then submitted to state agencies for review. Most carriers use
the basic ISO forms, at least as the starting point for their general liability policies." Montrose Chem. Corp.. v.
Admiral Ins. Co., 10 Cai. 4th 645,671 n.13 (1995).
2 See ISO Circular, "New Endorsements Filed to Address Exclusion of Loss Due to Virus or Bacteria," (July 6,
2006), https://www.propertyinsurancecoveragelaw.com/fi les/2020 '03/ISOCircular-LI-CF-2006-175-Virus.pdf (last
visited Mar. 31, 2021).


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               cost of replacement of property (for example, the milk), cost of
               decontamination (for example, interior building surfaces), and business
               interruption (time element) losses.

               Although building and personal property could arguably become
               contaminated (often temporarily) by such viruses and bacteria, the nature of
               the property itself would have a bearing on whether there is actual property
               damage. An allegation of property damage may be a point of disagreement
               in a particular case.3

        36.    ISO introduced this 2006 standard-form exclusion under the form numbers CP 01

40 07 06 and CP 01 75 07 06.

        37.    In 2007, Chubb (including Vigilant) developed its own endorsement to address

specifically the issue of coverage for communicable diseases, viruses or related pandemics.

Chubb's form was numbered Form 80-02-5241 (Ed. 11-07) and titled "Property Insurance -

Communicable Disease Contamination".

        38.    In March 2019, Chubb updated its Property Insurance - Communicable Disease

Contamination to use the number Form 80-02-5241 (Rev. 3-19). A copy of that revision is attached

as Exhibit B to this Complaint. As had the 2007 version, the 2019 revision of the endorsement

included, inter alia, an "Exclusions" section stating, in salient part:

               This insurance does not apply to loss or damage:

               •       which is communicable disease;

               •       which is in anyway attributed to the presence of communicable disease; or

               •       caused by or resultingfrom communicable disease,

               regardless of any other cause or event... .

Exhibit B, Form # 80-02-5241 (Rev. 03-19) at pages 3-4 of 5 (underlining emphasis added).




 Id.


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                39.   Thus, Chubb (including Vigilant) acknowledged that "communicable disease"

       could create "loss or damage" under Chubb's Property Insurance forms.

                40.   Chubb's Form # 80-02-5241 defined "Communicable disease" as follows, in salient

       part:

                      Communicable disease means a disease that:

                      A. may be transmitted directly or indirectly by one person or other life form to
                         another; and

                      B. is due to:

                         1. an infectious agent; or

                         2. a toxic product produced by such infectious agent.

       Exhibit B, Form # 80-02-5241 (Rev. 3-19) at page 5 of 5.

                41.   COVID-19 satisfies the definition of a "communicable disease" under Chubb's

       endorsement Form # 80-02-5241.

                42.   Prior to June 2019, Chubb advised the investing public in public disclosures that

       the Chubb companies could face substantial, negative financial impacts in the event of a pandemic.

       For example, in its 2017 Annual Report, Chubb stated:
rte-
                      Our results of operations or financial condition could be adversely affected
                      by the occurrence of natural and man-made disasters.
                      We have substantial exposure to losses resulting from natural disasters...
                      such as... catastrophic events, including pandemics. This could impact a
                      variety of our businesses, including our commercial and personal lines....
                      Catastrophes can be caused by various events, including... a global or other
                      wide-impact pandemic.... The occurrence of claims from catastrophic
                      events could result in substantial volatility in our results of operations or
                      financial condition for any fiscal quarter or year.... [T]he occurrence of one
n
                      or more catastrophic events could have an adverse effect on our results of




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                 operations and financial condition.4

         43.     Thus, at the time Vigilant wrote and sold the Policy to NEP in June 2019, Vigilant

had acknowledged to its investors and its policyholders that it provided insurance for pandemic-

related risk, and Vigilant knew how to include language in its policies to exclude explicitly any

coverage for loss or damage caused by such a peril.

        44.      And yet, Vigilant chose not to include ISO Form CP 01 40 07 06 or CP 01 75 07,

or Chubb Form # 80-02-5241 (either the November 2007 or March 2019 version) in the Policy.

        45.      Vigilant's decision not to include an explicit virus exclusion in the Policy stands in

stark contrast to the fact that several of the insurance policies issued by Chubb for the same June

30, 2019 — June 30, 2020 period to provide coverage for NEP premises in other countries (i.e.,

non-U.S.) did explicitly address coverage for communicable disease and/or viruses. For example,

the policies issued by Chubb to cover NEP locations in Sweden and The Netherlands included

explicit exclusions for, inter alia, loss or damage caused by "Contaminants" or "Pollutants", which

in turn were explicitly defined as including viruses. For another example, the policy issued by

Chubb to cover NEP locations in Australia included an explicit "Human Infectious &/or Human

Contagious Disease" coverage. This further demonstrates that Chubb knew how to address these

issues in the Policy, but chose not to add any explicit exclusion to the Policy prohibiting coverage

for loss or damage relating to SARS-CoV-2 and COVID-19.

C.      SARS-CoV-2 and the COVID-19 Pandemic.

        46.      The SARS-CoV-2 virus is microscopic, but it is a physical substance.




 Chubb Limited, 2017 Annual Report, at 19,
https::',,'sl.q4cdn.com/677769242/fil es/doc_financialsJ2018/ A GM/Chubb_Li m ited_2017 Annual_Report.pdf (last
visited Mar. 31 2021).


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        47.      SARS-CoV-2 is transmitted between persons and also from surfaces to persons.

According to the World Health Organization ("WHO"), this virus can spread from person to person

through small droplets expelled from the nose or mouth when a person with COVID-19 coughs,

sneezes, exhales, or speaks. These droplets may be breathed in by another person or land on

another person and cause infection if they reach the eyes, nose or mouth. Additionally, the droplets

may land on objects and cause infection when another person touches the object or surface and

then touches his/her eyes, nose, or mouth.5

        48.      Investigation remains ongoing regarding the extent to which the virus also is being

transmitted through aerosols produced by infected individuals talking or singing, which aerosols

can remain suspended in air for an extended time and move over extended distances.6

        49.      While COVID-19 is incubating in their bodies, which can take up to 14 days,

infected persons can be contagious and transmit the disease, even prior to showing any symptoms.7

        50.      Some infected individuals remain asymptomatic,' and at least one study has

confirmed that these individuals still spread the virus by breathing, speaking, or touching objects

and surfaces.9




 Q&A on Coronaviruses (COVID-19), World Health Organization (April 17, 2020), http       www.who.int/news-
room/q-a-detail/coronavirus-disease-covid-19 (last visited Mar. 31, 2021).
 Renyi Zhang, et al., Identifying airborne transmission as the dominant routefor the spread of COVID-19,
Proceedings of the National Academy of Sciences of the United States of America (June 30, 2020),
https://www.pnas.org/content/117/26/14857 (last visited Mar. 31, 2021).
 Coronavirus disease 2019 (COV1D-19) Situation Report - 73, World Health Organization,
https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-sitrep-73-covid-
19.pdf?sfyrsn-5ae25bc7 _2 (last visited Mar. 31, 2021).
3Erika Edwards, Asymptomatic COVID-19 Cases May Be More Common Than Suspected (May 27, 2020, 12:43
PM), https:. ,'www.nbcnews.com/health/health-news/asymptomatic-covid-19-cases-maybe-more-common-suspected-
n1215481 (last visited Mar. 31, 2021).
 Id; see also, Minghui Yang et al., SA RS-CoV-2 Detected on Environmental Fomitesfor Both Asymptomatic and
Symptomatic Patients with COVID-19, American Journal of Respiratory and Critical Care Medicine (Dec. 16,
2020), https:/ doi.org/10.1164 rccm.202006-2136LE (last visited Mar. 31, 2021).


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         51.      A January 7, 2021 a Centers for Disease Control ("CDC") study found that 59% of

all transmission came from asymptomatic transmission, comprising 35% from pre-symptomatic

individuals and 24% from individuals who never developed symptoms.' As such, the number of

positive test cases reflects only a portion of the individuals who were likely shedding SARS-CoV-

2 on NEP's covered property during the policy period."

         52.      Current evidence suggests that SARS-CoV-2 may remain viable for hours to days

on surfaces made from a variety of materials.12 Reportedly, the virus can survive and remain

virulent on stainless steel and plastic for 3 to 6 days, on glass and banknotes for 3 days, and on

wood and cloth for 24 hours.i3 The CDC has reported that the virus was found on surfaces of the

Diamond Princess cruise ship 17 days after the cabins were vacated.14 And more recent studies

suggest the virus can remain active on inert surfaces for at least 28 days.15 Inanimate objects that

are physically altered by the adherence of an infectious agent, like a virus, and allow for the



10 Michael Johansson et al., SARS-CoV-2 Transmission From People Without COVID-19 Symptoms, JAMA Netw.
Open (Jan. 7, 2021), https:I/doi:10.1001/jamanetworkopen.2020.35057 (last visited Mar. 31, 2021).

" Benedict Carey and James Glanz, Hidden Outbreaks Spread Through U.S. Cities Far Earlier Than Americans
Knew, Estimates Say, N.Y. TIMES (Apr. 23, 2020), (updated July 6, 2020),
https://nytimes.com/2020/04/23/us/coronavirus-early-outbreaks-cities.html (last visited Mar. 31, 2021); Meagan
Fitzpatrick et al., The implications ofsilent transmission for the control of COVID-19 outbreaks, 117 PNAS 30,
17513-15, (July 28, 2020), https://www.pnas.org/content/117/30/17513 (last visited Mar. 31, 2021).

12 Cleaning and Disinfection for Community Facilities, Centers for Disease Control and Prevention (May 27, 2020),
https://www.cdc.gov/coronavirus/2019-ncov/community/disinfecting-building-facility.html (last visited Mar. 31,
2021).
13 Neeltje van Doremalen et al., Aerosol and Surface Stability of SARS-CoV-2 as Compared with SARS-CoV-1, The
New England Journal of Medicine (April 16, 2020), https://www.nejm.org/doi/fullf10.1056,nejmc2004973 (last
visited Mar. 31, 2021).
14 Public Health Responses to COV1D-19 Outbreaks on Cruise Ships- Worldwide, February-March 2020, Centers
for Disease Control and Prevention (March 27, 2020), https://www.cdc.gov/mmwrvolumes/694r, mm6912e3.htm
(last visited Mar. 31, 2021).
15See CNBC, Virus that causes Covid-19 can survivefor 28 days on common surfaces, research says (Oct. 12,
2020), https:,'..'www.cnbc.com/2020, 10, 12Jvirus-that-causes-covid-19-can-survive-for-28-days-on-surfaces-research-
says.html (last visited Mar. 31, 2021); Shane Riddell, Sarah Goldie, Andrew Hill, Debbie Eagles & Trevor W.
Drew, The effect of temperature on persistence of SARS-CoV-2 on common surfaces, 17 Virology J., Art. No. 145
(2020), https:/Nirologyj.biomedcentral.com/articles/10.1186/s12985-020-01418-7 (last visited Mar. 31, 2021).


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transmission of the infectious agent from one susceptible person to another are referred to as

"fomites."16

        53.      Droplets containing the virus are physically present in the air and are physically

present and adhere to the surfaces of both the real and personal property.

        54.      On December 31, 2019, the Chinese government notified the WHO of a

"pneumonia of unknown cause" discovered in China's Wuhan province.

        55.      The United States reported its first confirmed COVID-19 case on January 20, 2020.

        56.      On January 30, 2020, the WHO declared the COVID-19 pandemic a "Public Health

Emergency of International Concern."

        57.      By early February, 2020, millions of people in China were under quarantine, but in

the United States the virus was spreading largely undetected.

        58.      On March 11, 2020, the WHO declared the widespread outbreak of COVID-19 a

pandemic.

        59.      On March 13, 2020, the U.S. federal government declared the virus a national

emergency. Three days later, the CDC and members of the national Coronavirus Task Force issued

public guidance titled "30 Days to Slow the Spread," which for the first time recommended

significant social-distancing measures, such as working from home, avoiding gatherings of more

than 10 people, and avoiding bars and restaurants.

        60.      The individual state governments have taken a lead role within the United States in

combating the spread of the virus. In March 2020, state governors across the country began

imposing restrictions on commercial businesses and social activities, to protect citizens and stop


16 See MerriamWebster.com, A Guide to Coronavirus-Related Words Deciphering the terminology you're likely to
hear — COV1D 19, https:/ 'www.merriam-webster.com/words-at-play/coronavirus-words-guide (last visited Mar. 31,
2021).



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the spread of damage. Many states restricted or outright prohibited the operation of "non-

essential" or "non life-sustaining" businesses, prohibited public gatherings, and required

individuals to stay at home except for essential purposes such as shopping for food or obtaining

medical care.

       61.      For example, Pennsylvania's governor issued the following orders as the result of

COVID-19's spread across the state and SARS-CoV-2's ability to attach and survive on surfaces:

                a.     on March 6, 2020, based on the magnitude and severity of the COVID-19

                       public health emergency, he issued a Proclamation of Disaster Emergency

                       proclaiming "the existence of a disaster emergency throughout the

                       Commonwealth;"

                b.     on March 19, 2020, based in part on his statutory authority "to control

                       ingress and egress to and from a disaster area and the movement of persons

                       within it and the occupancy of premises therein," he issued an Order

                       requiring all non-life sustaining businesses in the Commonwealth to cease

                       operations and close all physical locations;

                c.     on March 23, 2020, he issued a Stay at Home Order for citizens of various

                       counties in Pennsylvania, including Allegheny County (which is within this

                       District), and the Pennsylvania Department of Health also issued an order

                       stating that "operation of non-life sustaining businesses present the

                       opportunity for unnecessary gatherings, personal contact and interaction

                       that will increase the risk of transmission and the risk of community spread

                       of COVID-19";




                                                15
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                 d.       on April 1, 2020, he expanded the March 23, 2020 Stay at Home Order to

                          apply to the entire Commonwealth of Pennsylvania l7;

                 e.       on April 20, 2020, he extended the March 23, 2020 Stay at Home Order to

                          May 8, 2020 for the entire Commonwealth;

                 f.       on July 15, 2020, after two months of attempting to slowly reopen

                          businesses, he once again limited restaurant capacity and required telework

                          wherever possible; and

                 g.       on December 10, 2020, following another attempt to slowly reopen

                          businesses, he enacted a "Limited-Time Mitigation" order prohibiting a

                          wide array of business and personal activities, which remained in effect

                          until January 4, 2021.

        62.      As the Office of Governor Wolf explicitly stated, these orders were enacted to

"limit[] the spread of the virus through personal contact and surfaces."' 8

        63.      This is also apparent when examining the plain text of these orders, which required

that life-sustaining businesses allowed to remain open "follow, at a minimum, the social distancing

practices and other mitigation measures defined by the Centers for Disease Control to protect




17 Governor Wolf's April 1, 2020 Emergency Order also explicitly noted that it was enacted pursuant to the
Governor's power to control ingress and egress to and from a disaster area." Pennsylvania Office of the Governor,
Emergency Order (Apr. 1, 2020), https://www.governor.pa.govinewsroomigov-wolf-sec-of-health-pennsylvania-
on-statewide-stay-at-home-order-beginning-at-8-pm-tonight-most-prudent-option-to-stop-the-spread/ (last visited
Apr. 5, 2021).

18 Pennsylvania Office of the Governor, Press Release, Wolf Administration Updates Businesses on Guidance for
COVID-19 Mitigation Efforts (Mar. 16, 2020), https://www.governor.pa.gov/newsroom/wolf-administration-
updates-businesses-on-guidance-for-covid-19-mitigation-efforts/ (last visited Apr. 5, 2021).


                                                       16
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workers and patrons."''" These measures include cleaning "high touch surfaces ... at least once a

day" and "clos[ing] off areas used by [an infected individual] and do not use those areas until after

cleaning and disinfecting."'

          64.     Governors and other state officials issued similar orders in states across the United

States including in additional states where NEP has property and operations insured under the

Policy.

          65.     A number of governmental orders issued in the United States, in addition to

Pennsylvania, also explicitly mention the threat the virus poses to property and how widespread

the virus has become.2'

          66.     The impact of the virus and the resulting pandemic on life and property has been

staggering across the United States and the world. Although the precise number and locations of

COVID-19 infected persons is unknown, as of the filing date of this Complaint, there have been

more than 118 million confirmed infections throughout the world, with more than 2.6 million




19 Pennsylvania Office of the Governor, Emergency Order (Mar. 19, 2020),
https://www.governor.pa.govinewsroorniall-non-life-sustaining-businesses-in-pennsylvania-to-close-physical-
locations-as-of-8-pm-today-to-slow-spread-of-covid-19/ (last visited Apr. 5, 2021).

20 Center for Disease Control and Prevention, Cleaning and Disinfecting Your Facility (updated Apr. 5, 2021),
https:..., www.cdc.gov coronavirus/2019-ncov'community disinfecting-building-facility.html (last visited Apr. 5,
2021 )-

   City of New Orleans, Mayoral Proclamation to Promulgate Emergency Orders During the State of Emergency
Due to COVID-19 2 (2020) (Mar. 16, 2020), https://nola.govInayor/executive-orders/emergency-
declarations/03162020-mayoral-proclamation-to-promulgate-emergency-orders-during-the-state-of-emergency-due-
to-co/ (last visited Mar. 31, 2021); City of N.Y., Emergency Executive Order No. 103 (2020) (Mar. 25, 2020),
https::/wwwl.nyc.gov/assets/home/downloads/pdVexecutive-orders/2020.'eeo-103.pdf (last visited Mar. 31, 2021);
State of Colo., Executive Order D 2020 032 (2020), https:l/www.colorado.gov'governor, sites/default/files/inline-
files/D%202020%20032%20Extending%20D%202020%20003.pdf (Iast visited Mar. 31, 2021); Broward Cty.
Adm'r, Emergency Order 20-03 (2020) (Mar. 26, 2020), https://www.broward.urg.CoronaVirus/Documents/BC-
EmergencyOrder20-03.pdf (last visited Mar. 31, 2021); Pinellas Cty Adm'r, Resolution No. 20-20 "COVID-19 -
Safer at Home Order" (Mar. 25, 2020), http:,'..www.pinellascounty.org/emergency/PDF,tovid19 res20-20.pdf (last
visited Mar. 31, 2021); Nevada Executive Emergency Declaration Directive No. 16 (Apr. 29, 2020)
https:, /gov.nv.gov/News/Emergency_Orders/2020/2020-04-29_-_COVID-
19_Declaration _of Emergency Directive _016 _(Attachments)/ (last visited Mar. 31, 2021).


                                                        17
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deaths.22 Within the U.S., there have been more than 29 million confirmed cases, with more than

525,000 deaths.23

         67.     This COVID-19 public health crisis has directly and physically damaged property

and caused the loss of use of property all across the Commonwealth of Pennsylvania, the United

States and the world and has directly forced businesses everywhere to physically limit the use of

property and the number of people who could inhabit physical buildings at any given time in a safe

and responsible manner.

D.       NEP Suffers Property Damage, Business income Loss and Extra Expense.

         68.     Many metropolitan areas in the United States have been particularly overwhelmed

by the pandemic, including metropolitan areas where NEP has buildings, personal property and/or

mobile equipment insured under the Policy and where there are dependent business premises,

including event locations, where NEP provides services.24

         69.     Due to unavailability of testing methods and testing capacity during the early

months of the pandemic, NEP has little actual testing information to demonstrate precisely which

of its premises, which of the properties nearby its premises, and which of its dependent business

premises, including event locations, had SARS-CoV-2 attach to them and when.



22 WHO Coronavirus Disease (COVID-19) Dashboard, WHO (last updated Mar. 29,
2021),https://covidl9.who.intl (last visited Mar. 31, 2021).
23WHO Coronavirus Disease (COVID-19) Dashboard, United States ofAmerica„WHO (last updated updated Mar.
31, 2021), https://covid19.who.int/regionfamro/country/us (last visited Mar. 31, 2021).
24CDC COVID Data Tracker: Trends in Number of COVID-19 Cases and Deaths in the US
Reported to CDC, by State/Territory, Centers for Disease Control and Prevention,
httpKvcovid.cdc.gov/covid-data-tracker#trends dailytrendscases (last visited Mar. 31, 2021);
Daily State-By-State- Testing Trends, Johns Hopkins Univ. of Medicine,
https://coronavirus.jhu.edu/testing/individual-states/illinois (last visited Mar. 31, 2021); Michael Ettlinger and
Jordan Hensley, COVID-I9 Economic Crisis By State, Univ. of N.H. Carsey School of Public Policy (Mar. 15,
2021), https:/ ,'carsey.unh.edu/COVID-19-Economic-Impact-By-State (last visited Mar. 31, 2021); Gary Stix and
Youyou Zhou, COVID-19 Is Now the Third Leading Cause of Death in the 1' S , Scientific American (Oct. 8, 2020),
https:i/vvww.scientificamerican.com/article, covid-19- is-now-the-third-leading-cause-of-death-in-the-u-s1 (last
visited Mar. 31, 2021).

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            70.      Nonetheless, it was statistically certain or near-certain that SARS-CoV-2 was

present on covered property, nearby premises and dependent business premises, physically altering

those properties and causing them to become physically uninhabitable, unsafe, and unfit for their

normal and intended uses and resulting in physical loss or damage to property.25

            71.      A number of NEP employees have reported that they contracted COVID-19. Per

recent CDC data, discussed above, that quantity only accounts for 41°•4; of the individuals who

were shedding SARS-CoV-2 on NEP's covered property.26

            72.      Due to the asymptomatic or presymptomatic nature of the remaining 59%, it is

impossible to determine the exact number of individuals who were shedding SARS-CoV-2 on

NEP's property during the policy period.27

            73.      Nonetheless, it is certain that at least a portion of NEP's employees were shedding

SARS-CoV-2 on NEP's property while undetected during the relevant period.

            74.      Extrapolated to the wider community, it is equally as certain that fomite

transmission of SARS-CoV-2 occurred on nearby property or dependent business premises, given

that approximately 5-10% of the U.S. population reportedly carried SARS-CoV-2 at any given

time.28

            75.      NEP has taken numerous steps to address the physical loss or damage to its property

resulting from the virus and pandemic, including:



25Aroon Chande et al., Real-time, interactive websitefor US-county-level COVID-19 event risk assessment, 4 NAT.
HUMAN BEHAVIOR, 1313-19 (Nov. 9, 2020), https:/ ,doi.org/10.1038/s41562-020-01000-9 (last visited Mar. 31,
2021).

26   See Johansson, et al., supra.

     See Carey and Glanz, supra; Fitzpatrick et al., supra.

3 See WHO Coronavirus Disease (COVID-1 9) Dashboard, t:niied States of America, supra.


                                                              19
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               •       Putting into place extensive new procedures for social distancing and

                       cleaning at NEP's premises;

               •       Purchasing large amounts of personal protective equipment ("PPE");

               •       Implementing testing procedures;

               •       Putting into place a "contact tracing" system at all NEP premises;

               •       Putting additional procedures in place for the operation and cleaning of

                       NEP's mobile units; and

               •       Affixing new ion filter systems to the air conditioning systems of all NEP's

                       mobile units.

       76.     Due to the presence of the virus, the governmental orders proclaiming state-wide

disaster areas and requiring non-essential businesses to shut down, and the resulting cancellation

of the live sporting events, entertainment, music and corporate events NEP would otherwise have

produced, NEP suffered physical loss or damage to its buildings, personal property, and mobile

equipment insured under the Policy and was unable to use its property for their intended functions,

all resulting in NEP suffering substantial financial losses.

       77.     In addition, upon information and belief, the presence of contagious COVID-19

infected persons at NEP's properties, at properties nearby to them, and at dependent business

premises caused SARS-CoV-2 to adhere to surfaces of the buildings, personal property, and

mobile equipment, resulting in physical loss or damage.

       78.     Exacerbating NEP's losses, the fixed costs of NEP's business operations continued,

such as lease payments, committed capital and expense payments, and payroll for employees.

       79.     Despite NEP's efforts to mitigate its losses, many of the variable costs of NEP's

business operations have continued.


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     E.     Vigilant Denied NEP's Claim for Coverage.

            80.     On April 1, 2020, NEP, through the insurance brokerage firm Simpson & McCrady

     LLC, gave notice to Vigilant of NEP's SARS-CoV-2 COVID-19 related losses and request for

     coverage under the Policy.

            81.     On April 7, 2020 and April 30, 2020, Vigilant, through Chubb Multinational

     Claims, acknowledged receipt of NEP's claim, but failed to acknowledge Vigilant's obligations to
it   accept and pay on the claim. Instead, the communications asserted that Vigilant was continuing

     to investigate the claim and outlined several purported defenses to coverage, without definitively

     stating whether any of those defenses actually applies.

            82.     Between April and October 2020, NEP responded to various requests for

     information from Vigilant, including submitting information and documents in support of the

     claim for coverage.

            83.     On November 13, 2020, Vigilant sent a letter to NEP denying NEP's claim for

     coverage in its entirety. A copy of that denial letter is enclosed as Exhibit C to this Complaint.

     As further described in the letter, Vigilant's denial was premised on Vigilant's assertion that NEP

     has not sustained "direct physical loss or damage" to buildings, personal property, or mobile

     equipment, and "has provided no evidence that would indicate that it has incurred any business

     income loss or extra expense due to the actual or potential impairment of NEP's operations caused

     by or resulting from direct physical loss or damage by a covered peril...." See Exhibit C, at p. 9

     & 11. Vigilant also denied the claims under the Civil Authority coverage, asserting that NEP has

     not incurred actual business income loss and/or extra expense due to the actual impairment of

     NEP's operations, directly caused by the prohibition of access to NEP's premises or a dependent

     business premises by a civil authority, as the direct result of physical loss or damage to property



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away from and within one mile of NEP's premises or dependent business premises by a covered

peril. Id. at p. 14. Vigilant also asserted that the terms "direct physical loss or damage" are "clear

and unambiguous and do not include impairment of operations caused by or resulting from loss of

use of or loss of access to property." Id., at p. 9.

       84.      The November 13, 2020 denial letter also purported to reserve Vigilant's right to

deny coverage on several other grounds, including that: (a) "even the actual presence of the

COVID-I 9 virus on property would not constitute direct physical loss or damage to property"; and

(b) the Policy's "Increase of Loss Due to Death or Injury" Loss Payment Limitation and/or the

"Acts or Decisions" exclusion apply to preclude coverage. Id., at p. 18.

        85.    NEP disputes Vigilant's denial of coverage. Coverage is triggered by "physical

loss" in addition to "damage". NEP's losses, as described above, include both physical loss and

damage. In addition, NEP's losses have a number of causes and trigger a number of covered perils

that are not excluded in the Policy. In addition, the various governmental closure orders prevented

NEP from accessing certain of its insured premises, and impaired the use and function of NEP's

premises and mobile equipment.

        86.     Furthermore, NEP's compliance with the governmental orders included various

mitigation efforts that are covered under the Policy and common law.

                                 COUNT I — Breach of Contract

        87.     The allegations set forth in each and every preceding paragraph are incorporated

herein by reference.

       88.      The Policy constitutes a valid and enforceable contract between NEP, as the named

insured, and Vigilant, as the insurance company.




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          89.   As described above, NEP sustained covered loss under the Policy during the policy

period, including but not limited to under the property, Business Income, Extra Expense, Mobile

Equipment, Civil Authority, and Dependent Business Premises coverages.

          90.   NEP has complied with, and/or Vigilant has waived enforcement of, any conditions

precedent to obtaining coverage.

          91.   Under the terms of the Policy, Vigilant was required to pay on NEP's claim subject

to the Policy's limit of insurance, sub-limits, time Iimits, or deductibles applicable to the specific

coverages.

          92.   Vigilant has failed to pay any amounts due to NEP in connection with NEP's claim.

Instead, Vigilant has raised inapplicable issues and defenses and has denied the claim.

          93.   As a direct and proximate result of Vigilant's breach of the contract, NEP has

suffered and will continue to suffer damages in an amount to be determined at trial, plus

consequential damages, attorneys' fees, and pre- and post-judgment interest to the extent permitted

by law.

                                     PRAYER FOR RELIEF

          WHEREFORE, NEP hereby demands judgment against Vigilant for NEP's actual

damages, consequential damages, attorneys' fees and costs, prejudgment and post-judgment

interest, and such other relief as this Court may deem just and proper;



          A JURY TRIAL IS HEREBY DEMANDED.




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                                      TF

                             Carol 'n 1. Bra thoover a. 11) 36580)
                             Dough - Sim .1 ns (Pa. 11) 69401)
                             Ilizabeth A. I loadley (Pa. ID 327845)
                             K&I, GATES 1,LP
                             K&L Gates Center
                             210 Sixth Avenue
                             Pittsburgh, PA 15222-2613
                             Telephone: (412) 355-6500
                             Facsimile: (412) 355-6501
                             .11torneys /Or NEP Group Ihddings, Inc




                               24
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                                         VERIFICATION

       I, Gerald Delon, Chief Financial Officer of NEP Group, hereby verify that the facts set

forth in the foregoing Verified Complaint are true and correct to the best of my knowledge,

information and belief. This verification is made subject to the penalties of 18 Pa.C.S.A. § 4904,

relating to unsworn falsification to authorities.
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            EXHIBIT A
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                                               Customarq Series
CHUBB°                                         Broadcasters Insurance Program

                                               Premium Summary
                                                                                        Chubb Group of Insurance Companies
                                                                                        202E Hall's MillRoad
                                                                                        Whitehouse Station, NJ 08889
             Named Insured and Mailing Address
                                                                                        Policy Number 3584-70-15 BAL
            NEP GROUP HOLDINGS, INC.
            2 BETA DRIVE                                                                Effective Date TUNE 30, 2019
            PITTSBURGH, PA 15238
                                                                                        Issued by the stock insurance company
                                                                                        indicated below, herein called the company.

                                                                                        VIGILANT
                                                                                        INSURANCE COMPANY

             Producer No. 0049569-99999                                                 Incorporated under the laws of
                                                                                        NEW YORK
            Producer              SIMPSON & MCCRADY LLC
                                  310-330 GRANT, STE. 1320
                                  PITTSBURGH, PA 15219-0000




$SSSNOMMM:,.;:::,:=PARS4W.F.,,,,, ::::::592;=~44$5$SaNIMMWAR*1.4,.

Policy Period
            From: JUNE 30, 2019                      To: JUNE 30, 2020
            12:01 A.M. standard time at the Named Insured's mailing address shown above.


Premium Payment
            The First Named Insured shown in the Declarations is responsible for the payment of all premiums and will be the payee for any
            return premiums we pay.


Premium Audit
            Certain classifications within our rates and rules indicate that premiums calculated therefrom can be significantly affected by
            large increases or decreases in your business results. Based upon our underwriting review of information provided by you, we
            may at our discretion perform a premium audit. You may also request such an audit.
            If an audit is conducted and additional premiums are due, they are payable upon notice to the First Named Insured. If as a result
            of an audit the premium paid is greater than the earned premium, we will return the excess to the First Named Insured_ The First
            Named Insured must keep records of the information we need to perform the audit and send us copies at such times as we may
            request.

                                                                                                                        . . MgMcVIMMIMMin

Coverage                                                                               Rate                         Premium
PROPERTY INSURANCE SECTION                                                                                                 $ 4,312,881
LIABILITY INSURANCE SECTION                                                                                                   $ 353,762



                                                      Issue Date: SEPTEMBER 4, 2019                                               continued
    Form 80-02-9009 (Rev. 10-05,1                     Premium Summary                                                             Page 1
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      CHUBB°

      Premium Summary
      (continued)
      INTERNATIONAL INSURANCE SECTION                                                                                                              $ 154,561
      INTERNATIONAL WORKERS COMP SECTION                                                                                                            $ 32,975
      INTERNATIONAL AUTO LIABILITY INSURANCE                                                                                                        $ 42,667

      TOTAL                                                                                                                                   $ 4,896,848

      If ATD coverage is provided on this policy, additional certificate and handling fees may be imposed during the policy term.

      Phk:#SZGWMVMZcMZRW..*:MoZ:rGZZZ$XMWAVNZZWSZWAkr=::Z9Z^SZM:S;1                4::fk'..WXMZZ:r4Z."St'   cxre~cxss~ «:;;.VZNatZ=Znon:Z..MWab'         S$ZXSAMVZ<Z

      Coverage Premium
               Additional certificate and handling fees may be imposed as respects to certification of pressure equipment as
               mandated by State and/or local jurisdictional authorities.
      35,4AMMVXMAWMPSMPFZ=VMSZfaSZTS            COMS:CeW2VAMONSAMMATOSSPRIAMWSONWSONAMMVASOMONOZZAMPAWAMVMSNAMOXIMMSYMMI

      Payment Plan
               This policy premium is being billed as follows. The amounts shown are due and payable as of the dates shown below:

                    Da     Payment Due                                                                                            Amount Due
                         JUNE 30, 2019                                                                                                  $490,193.60
p                                                                                                                                       $489,684.60
                         AUGUST 1, 2019
                         SEPTEMBER 1, 2019                                                                                              $489,684.60
                         OCTOBER 1, 2019                                                                                                $489,684.60
                         NOVEMBER 1, 2019                                                                                               $489,684.60
                         DECEMBER 1, 2019                                                                                               $489,684.60
                         JANUARY 1, 2020                                                                                                $489,684.60
                         I.E.BRUARY 1, 2020                                                                                             $489,684.60
                         MARCH 1, 2020                                                                                                  $489,684.60
                         APRIL 1, 2020                                                                                                  $489,684.60
      NYFF                                                                                                                                 $ 429.07
      MACHINERY BREAKDOWN CERTIFICATE AND HANDLING FEES                                                                                     $ 80.00




6.4




                                                Issue Data: SEPTEMBER 4, 2019                                                                        last page
         Form 80-02-9009 (Rev. 10-05)           Premium Summary                                                                                      Page 2
             Case 2:21-cv-00589-JFC Document 1-2 Filed 05/05/21 Page 33 of 69
                                                                                Afr:etr:•.:




                                 Property Insurance Section



                                 Declarations




Form 80-02-0000 (Ed. 4-94)   Declarations
           Case 2:21-cv-00589-JFC Document 1-2 Filed 05/05/21 Page 34 of 69


CHUBB°                              Property Insurance

                                    Schedule of Forms

                                    Policy Period              JUNE 30, 2019 TO JUNE 30, 2020

                                    Effective Date            JUNE 30, 2019

                                    Policy Number             3584-70-15 BAL

                                    insured                   NEP GROUP HOLDINGS, INC.


                                    Name of Company           VIGILANT INSURANCE COMPANY

                                    Date Issued               SEPTEMBER 4, 2019

                                                                                            samewssziweixotgnastabsp===Mcm:..ra=s,e.


 The following is a schedule of forms issued as of the date shown above:


                     Edition                                                                         Effective           Date
 Form Number          Date Form Name                                                                   Date             Issued
 80-02-0280            7-03     SCHEDULE OF MORTGAGEES/LOSS PAYEES                                   06/30/19          09/04/19
 80-02-0315            1-15     SUPP DEC-IMPAIRMENT OF COMP SERVICES                                 06/30/19          09/04/19
 80-02-0005            1-18     PROPERTY DECLARATIONS                                                06/30/19          09/04/19
 80-02-0282            1-15     SUPP DEC FOR BROADCASTERS PROPERTY                                   06/30/19          09/04/19
 80-02-0286           10-07     SUPP DEC FOR BROADCAS l'ERS PROP BI/R&D INCOME                       06/30/19          09/04/19
 80-02-1000            6-05     BUILDING AND PERSONAL PROPERTY                                       06/30/19          09/04/19
 80-02-1004            7-03     BUSINESS INCOME WITH EXTRA EXPENSE                                   06/30/19          09/04/19
 80-02-1017            7-03     ELECTRONIC DATA PROCESSING PROPERTY                                  06/30/19          09/04/19
 80-02-1018            7-03     EXTRA EXPENSE                                                        06/30/19          09/04/19
 80-02-1045            2-05     PROPERTY/BUSINESS INCOME GLOBAL EXTENSION                            06/30/19          09/04/19
 80-02-1047            7-03     MOBILE EQUIPMENT                                                     06/30/19          09/04/19
 80-02-1048            7-03     ACCTS REC, FINE ARTS, MONEY & SEC, VAL PAPERS                        06/30/19          09/04/19
 80-02-1095            7-03     IMPAIRMENT OF COMPUTER SERVICES-MALICIOUS PGM                        06/30/19          09/04/19
 80-02-1097            6-05     PROPERTY/BI CONDITIONS & DEFINITIONS                                 06/30/19          09/04/19
 80-02-1110           10-07     BROADCASTERS EXTENSION FOR PROPERTY INSURANCE                        06/30/19          09/04/19
 80-02-1324           10-06     WINDSTORM / HAIL DEDUCTIBLE OR WAITING PERIOD                        06/30/19          09/04/19
 80-02-1342            4-94     ADDL PERIL-COMBINED EARTHQUAKE/EQSL MOBILE EQ                        06/30/19          09/04/19
 80-02-1342            4-94     283370.2 (08/19) LOSS PAYEES AND AI'S ADDED                          06/30/19          09/04/19
 80-02-1342            4-94     AMENDED MOBILE EQUIPMENT COVERAGE                                    06/30/19          09/04/19
 80-02-1342            4-94     283370.1 (08/19) REP. COST BASIS - MOB EQUIP                         06/30/19          09/04/19
 80-02-1350            1-10     PERSONAL PROPERTY OF OTHERS                                          06/30/19          09/04/19
 80-02-1634            7-03     LIMITS OF INS. - LOSS LIMIT OF INS.                                  06/30/19          09/04/19
 80-02-1644            5-04     ELECTRONIC DATA AND PERIL CHANGES                                    06/30/19          09/04/19
 80-02-1658            1-15     CAP ON CERT. TERRORISM LOSSES (ALL PREMISES)                         06/30/19          09/04/19
 80-02-1946            8-03     PENNSYLVANIA MANDATORY                                               06/30/19          09/04/19
 80-02-5222           10-07     ADDL PERIL-COMBND EQ/EQSL LIMIT/DED-WP - BC                          06/30/19          09/04/19
 80-02-5223           10-07     ADDTL PERIL-FLOOD LMT/DED OR WP - BC                                 06/30/19          09/04/19
 80-02-5250            6-08     ORD OR LAW & EXISTING GREEN STANDARDS LPB                            06/30/19          09/04/19
 80-02-5291           10-10     TAX LIABILITY AMENDED                                                06/30/19          09/04/19
 80-02-5310            1-14     MECH. OR ELECT. SYSTEM OR APPARATUS DEF AMEND                        06/30/19          09/04/19
 80-02-5355            1-15     SPECIAL WAITING PERIOD PROVISION ADDED                               06/30/19          09/04/19
 80-02-5357            1-15     ADDITIONAL COVG ADDED - PROHIBITION OF ACCESS                        06/30/19          09/04/19

                                                                                                                            Lastpage

 Form 80-02-1999 (ED. 6-95)      Schedule of Fame                                                                         Page 1
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CHUBB'                           Property Insurance

                                 Schedule of Mortgagees And Loss Payees
                                                                                 Chubb Group of Insurance Companies
                                                                                 202B Hall's Mill Road
                                                                                 Whitehouse Station, NJ 08889
       Named Insured and Mailing Address
                                                                                 Policy Number 3584-70-15 BAL
        NEP GROUP HOLDINGS, INC.
        2 BETA DRIVE                                                             Effective Date   JUNE 30, 2019
        PITTSBURGH, PA 15238
                                                                                 Issued by the stock insurance company
                                                                                 indicated below, herein called the company.

                                                                                 VIGILANT
                                                                                 INSURANCE COMPANY

       Producer No. 0049569-99999                                                Incorporated under the laws of
                                                                                 NEW YORK
       Producer          SIMPSON & MCCRADY LW
                         310-330 GRANT, STE. 1320
                         PITTSBURGH, PA 15219-0000




Policy Period
        From: JUNE 30, 2019                      To: JUNE 30, 2020
        12:01 A.M . standard time at the Named Insured's mailing address shown above.


                                                         SCHEDULE
        PREMISES # 1             2 BETA DR
                                 PITTSBURGH, PENNSYLVANIA 15238
                                 COUNTY OF ALLEGHENY
                                      MORTGAGEE:                  GENERAL ELECTRIC CAPITAL CORPORATION
                                                                  AS ADMINISTRATIVE AGENT
                                                                  299 PARK AVENUE, 4TH FLOOR
                                                                  NEW YORK, NY 10171
                                      MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                  AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                  LOSS PAYEE,
                                                                  745 SEVENTH AVENUE, NEW YORK NY 10091
                                      MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                  & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                  270 PARK AVE-43RD FLOOR
                                                                  NEW YORK, NY 10017-2014




  Property lnscrance              Issue Data: SEPTEMBER 4, 2019                                                       continued
  Form 80-02-0280 (Ed. 7-03)      Property - Schedule Of Mortgagees And Loss Payees                                   Page 1
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CHUBB°

Premises Summary
(continued)
                                   LOSS PAYEE:                  GENERAL ELECTRIC CAPITAL CORPORATION,
                                                                AS ADMINISTRATIVE AGENT
                                                                299 PARK AVENUE, 4TH FLOOR
                                                                NEW YORK, NY 10171
                                    LOSS PAYEE:                 NATIONAL CITY MEDIA FINANCE,
                                                                A DIVISION OF NATIONAL CITY COMMERCIAL CAPITAL
                                                                COMPANY
                                                                995 DALTON AVENUE., CINCINNATI, OH 45203
                                    LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLA FERAL, MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014

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         PREMISES # 2          604 W 52ND ST
                               727 11TH AVENUE
                               NEW YORK, NEW YORK 10019
                               COUNTY OF NEW YORK
                                   MORTGAGEE                    GENERAL ELECTRIC CAPITAL CORPORATION
                                                                AS ADMINISTRATIVE AGENT
                                                                299 PARK AVENUE, 4TH FLOOR
                                                                NEW YORK, NY 10171
                                   MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                   MORTGAGEE                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLAIL.RAL, MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                   LOSS PAYEE:                  GENERAL ELECTRIC CAPITAL CORPORATION
                                                                AS ADMINISTRATIVE AGENT
                                                                299 PARK AVENUE, 4TH FLOOR
                                                                NEW YORK, NY 10171
                                   LOSS PAYEE:                  BARCLAYS BANK PLC, AS FIRST LTFN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                   LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014




   Property Insurance           Issue Date: SEPTEMBER 4, 2019                                                            continued
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CHUBB'                                     Property Insurance

                                           Declarations

                                           Effective Date            JUNE 30, 2019

                                           Policy Number             3584-70-15 BAL

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Premises Summary
{continued)

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           PREMISES # 3                   513-519 W 54TH ST
                                          NEW YORK, NEW YORK 10019
                                          COUNTY OF NEW YORK
                                                 MORTGAGEE                 GENERAL ELECTRIC CAPITAL CORPORATION
                                                                         , AS ADMINISTRATIVE AGENT
                                                                           299 PARK AVENUE, 4TH FLOOR
                                                                           NEW YORK, NY 10171
                                                MORTGAGEE                   BANK OF AMERICA, NA
                                                                            P 0 BOX 30120
                                                                            MAIL CODE: NCI-028-26-08
                                                                            CHARLO ra., NC 28230
                                                MORTGAGEE                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                            & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                            270 PARK AVE-43RD FLOOR
                                                                            NEW YORK, NY 10017-2014
                                                MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                            LOSS PAYEE,
                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091
                                                 LOSS PAYEE:                GENERAL ELECTRIC CAPITAL CORPORATION
                                                                            AS ADMINISTRATIVE AGENT
                                                                            299 PARK AVENUE, 4TH FLOOR
                                                                            NEW YORK, NY 10171
                                                LOSS PAYEE:                 VISION FINANCIAL GROUP, INC.
                                                                            615 IRON CITY DRIVE
                                                                            PITTSBURGH, PA 15205
                                                LOSS PAYEE:                 BANK OF AMERICA, NA
                                                                            P 0 BOX 30120
                                                                            MAIL CODE: NCI-028-26-08
                                                                            CHARLOTTE, NC 28230
                                                LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                            LOSS PAYEE,
                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091




    Property Insurance                      Issue Data: SEPTEMBER 4, 2019                                                       continued
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      CHUBB'

      Premises Summary
      (continued)
                                             LOSS PAYEE                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                         & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                         270 PARK AVE-43RD FLOOR
                                                                         NEW YORK, NY 10017-2014


               PREMISES # 4             401 5TH AVE
                                        NEW YORK, NEW YORK 1001.6
                                        COUNTY OF NEW YORK
                                             MORTGAGEE:                  GENERAL ELECTRIC CAPITAL CORPORATION
                                                                         AS ADMINISTRATIVE AGENT
                                                                         299 PARK AVENUE, 4TH FLOOR
                                                                         NEW YORK, NY 10171
                                             MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                         & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                         270 PARK AVE-43RD FLOOR
                                                                         NEW YORK, NY 10017-2014
                                             MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                         AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                         LOSS PAYEE,
                                                                         745 SEVENTH AVENUE, NEW YORK NY 10091
                                             LOSS PAYEE:                 CIT TECHNOLOGY FINANCING SV, INC.
                                                                         C/O ABIC - SPECIALTY SERVICES, 5TH FLOOR
                                                                         P.O. BOX 979220
                                                                         MIAMI, FL 33197-2341
                                             LOSS PAYEE:                 GENERAL ELECTRIC CAPITAL CORPORATION
                                                                         AS ADMINISTRATIVE AGENT
                                                                         299 PARK AVENUE, 4TH FLOOR
                                                                         NEW YORK, NY 10171
                                             LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                         AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                         LOSS PAYEE,
                                                                         745 SEVENTH AVENUE, NEW YORK NY 10091
                                             LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                         & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                         270 PARK AVE-43RD FLOOR
                                                                         NEW YORK, NY 10017-2014

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               PREMISES #5             36 W 37TH ST
                                       NEW YORK, NEW YORK 10018
                                       COUNTY OF NEW YORK

T                                            MORTGAGEE:                  GENERAL ELECTRIC CAPITAL CORPORATION
                                                                         AS ADMINISTRATIVE AGENT
                                                                         299 PARK AVENUE, 4TH FLOOR
                                                                         NEW YORK, NY 10171




•••      Property Insurance              Issue Date: SEPTEMBER 4, 2019                                                    continued
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CHUBB°                          Properly Insurance

                                Declarations

                                Effective Date           JUNE 30, 2019

                                Policy Number            3584-70-15 BAL

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Premises Summary
(continued)
                                     MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                     MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                     LOSS PAYEE:                 GENERAL ELECTRIC CAPITAL CORPORATION
                                                                 AS ADMINISTRATIVE AGENT
                                                                 299 PARK AVENUE, 4TH FLOOR
                                                                 NEW YORK, NY 10171
                                     LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                     LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014

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         PREMISES #8            401 7TH AVE
                                NEW YORK, NEW YORK 10001.
                                COUNTY OF NEW YORK
                                     MORTGAGEE                   GENERAL ELECTRIC CAPITAL CORPORATION
                                                                 AS ADMINISTRATIVE AGENT
                                                                 299 PARK AVENUE, 4TH FLOOR
                                                                 NEW YORK, NY 10171
                                    MORTGAGEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR     •
                                                                 NEW YORK, NY 10017-2014
                                    MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT. MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091




   Property Insurance            Issue Date: SEPTEMBER 4, 2019                                          continued
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Premises Summary
(continued)
                                              LOSS PAYEE:                GENERAL ELECTRIC CAPITAL CORPORATION
                                                                         AS ADMINISTRATIVE AGENT
                                                                         299 PARK AVENUE, 4Th FLOOR
                                                                         NEW YORK, NY 10171
                                              LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                          LOSS PAYEE,
                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091
                                              LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                          & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                          270 PARK AVE-43RD FLOOR
                                                                          NEW YORK, NY 10017-2014

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         PREMISES #7                  94-538B PUAHI STREET
                                      WAIPAHU, HAWAII 96797
                                              MORTGAGE&                   GENERAL ELECTRIC CAPITAL CORPORATION
                                                                          AS ADMINISTRATIVE AGENT
                                                                          299 PARK AVENUE, 4Th FLOOR
                                                                          NEW YORK, NY 10171
                                              MORTGAGEE:                  JPMORGAN CHASE BANK, NA. AS ADMINISTRATIVE AGENT
                                                                          & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                          270 PARK AVE-43RD FLOOR
                                                                          NEW YORK, NY 10017-2014
                                              MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE.,
                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                          LOSS PAYEE,
                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091
                                              LOSS PAYEE:                 GENERAL ELECTRIC CAPITAL CORPORATION
                                                                          AS ADMINISTRATIVE AGENT
                                                                          299 PARK AVENUE, 4TH FLOOR
                                                                          NEW YORK, NY 10171
                                              LOSS PAYEE:                BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                         AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                         LOSS PAYEE,
                                                                         745 SEVENTH AVENUE, NEW YORK NY 10091
                                              LOSS PAYEE:                JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                         & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                         270 PARK AVE-43RD FLOOR
                                                                         NEW YORK, NY 10017-2014

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         PREMISES # 8                 3170 WILLIAM PITT WAY
                                      PITTSBURGH, PENNSYLVANIA 15238
                                      COUNTY OF ALLEGHENY




   Property Insurance                  Issue Date: SEPTEMBER 4, 2019                                                                             continued
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CHUBB°                         Property Insurance

                               Declarations

                               Effective Date                   JUNE 30, 2019

                               Policy Number                    3584-70-15 BAL



Premises Summary
(continued)
                                    MORTGAGEE:                             GENERAL ELECTRIC CAPITAL CORPORATION
                                                                           AS ADMINISTRATIVE AGENT
                                                                           299 PARK AVENUE, 4TH FLOOR
                                                                           NEW YORK, NY 10171
                                    MORTGAGEE:                             JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                           & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                           270 PARK AVE-43RD FLOOR
                                                                           NEW YORK, NY 10017-2014
                                    MORTGAGEE:                             BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                           AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                           LOSS PAYEE,
                                                                           745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE:                            GENERAL ELECTRIC CAPITAL CORPORATION
                                                                           AS ADMINISTRATIVE AGENT
                                                                           299 PARK AVENUE, 4TH FLOOR
                                                                           NEW YORK, NY 10171
                                    LOSS PAYEE:                            BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                           AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                           LOSS PAYEE,
                                                                           745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE:                            JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                           & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                           270 PARK AVE-43RD FLOOR
                                                                           NEW YORK, NY 10017-2014

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          PREMISES # 9         16200 STAGG ST
                               VAN NUYS, CALIFORNIA 91406
                               COUNTY OF LOS ANGELES
                                   MORTGAGEE:                              JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                           & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                           270 PARK AVE-43RD FLOOR
                                                                           NEW YORK, NY 10017-2014
                                   MORTGAGEE:                              BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                           AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                           LOSS PAYEE,
                                                                           745 SEVENTH AVENUE, NEW YORK NY 10091




  Property Insurance            Issue Date: SEPTEMBER 4, 2019                                                                                                      continued
  Form 80-02-0280 (Ed. 7-03)    Property - Schedule Of Mortgagees And Loss Payees                                                                                  Page 7
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Premises Summary
(continued)
                                   LOSS PAYEE                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                   LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014


        PREMISES # 10          7635 AIRPORT BUSINESS PKWY                         BLDG # 1
                               BUILDING A
                               VAN NUYS, CALIFORNIA 91406
                               COUNTY OF LOS ANGELES
                                   MORTGAGEE:           JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                        & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                        270 PARK AVE-43RD FLOOR
                                                        NEW YORK, NY 10017-2014
                                    MORTGAGEE           BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                        LOSS PAYEE,
                                                        745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE          BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE
                                                        LOSS PAYEE,
                                                        745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE          JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                        & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                        270 PARK AVE-43RD FLOOR
                                                        NEW YORK, NY 10017-2014
                               7635 AIRPORT BUSINESS PKWY            BLDG # 2
                               BUILDING A
                               VAN NUYS, CALIFORNIA 91406
                               COUNTY OF LOS ANGELFS
                                   MORTGAGEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                   MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                   LOSS PAYEE                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091




  Properly insurance            Issue Date: SEPTEMBER 4, 2019                                          continued
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CHUBB°                             Property Insurance

                                   Declarations

                                   Effective Date            JUNE 30, 2019

                                   Policy Number             3584-70-15 BAL

::::WWW:IN.VAMMOMMIVASNOSAMMAWAVAMSXMOWAY           're:YrWer.WAWAWAVXMAWAISORK                      WPfge4gA

Premises Summary
(continued)
                                        LOSS PAYEE                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014

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           PREMISES # 11           7635 AIRPORT BUSINESS PKWY                          BLDG # 1
                                   BUILDING B
                                   VAN NUYS, CALIFORNIA 91406
                                   COUNTY OF LOS ANGELES
                                        MORTGAGEE:          JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                            & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                            270 PARK AVE-43RD FLOOR
                                                            NEW YORK, NY 10017-2014
                                        MORTGAGEE:          BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                            LOSS PAYEE,
                                                            745 SEVENTH AVENUE, NEW YORK NY 10091
                                        LOSS PAYEE:         BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                            LOSS PAYEE,
                                                            745 SEVENTH AVENUE, NEW YORK NY 10091
                                        LOSS PAYEE:         JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                            & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                            270 PARK AVE-43RD FLOOR
                                                            NEW YORK, NY 10017-2014
                                   7635 AIRPORT BUSINESS PKWY             BLDG # 2
                                   BUILDING B
                                   VAN NUYS, CALIFORNIA 91406 •
                                   COUNTY OF LOS ANGELES
                                       MORTGAGEE:                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014
                                       MORTGAGEE:                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
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    Properly Insurance              Issue Data: SEPTEMBER 4, 2019                                                 continued
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Premises Summary
(continued)
                                    LOSS PAYEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014

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        PREMISES # 12           1501 LEHIGH ST
                                SUITE 100
                                ALLENTOWN, PENNSYLVANIA 18103
                                COUNTY OF LEHIGH
                                    MORTGAGEE                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE
                                                                 LOSS PAYEE.,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                    LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014

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        PREMISES # 13           GEMINI HOUSE
                                DOWNMILL ROAD
                                BRACKNELL RG12 1QQ UNITED KINGDOM
                                    MORTGAGEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091




   Property Insurance            Issue Date: SEPTEMBER 4, 2019                                                              continued
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                                     Effective Date              JUNE 30, 2019

                                     Policy Number               3584-70-15 BAL                                                                               C
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Premises Summary
(continued)
                                           LOSS PAYEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                        LOSS PAYEE,
                                                                        745 SEVENTH AVENUE, NEW YORK NY 10091
                                           LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                        & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                        270 PARK AVE-43RD FLOOR
                                                                        NEW YORK, NY 10017-2014

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           PREMISES # 14             232 MADISON AVE
                                     SUITES 704, 708 & 1002
                                     NEW YORK, NEW YORK 10016
                                     COUNTY OF NEW YORK
                                           MORTGAGEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                        & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                        270 PARK AVE-43RD FLOOR
                                                                        NEW YORK, NY 10017-2014
                                           MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                        LOSS PAYEE,
                                                                        745 SEVENTH AVENUE, NEW YORK NY 10091
                                           LOSS PAYEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                        LOSS PAYEE,
                                                                        745 SEVENTH AVENUE, NEW YORK NY 10091
                                           LOSS PAYEE                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                        & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                        270 PARK AVE-43RD FLOOR
                                                                        NEW YORK, NY 10017-2014

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           PREMISES # 15             8 CENTRAL AVENUE
                                     EVELEIGH, NSW 2015 AUSTRALIA
                                          MORTGAGEE:                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                        & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                        270 PARK AVE-43RD FLOOR
                                                                        NEW YORK, NY 10017-2014




    Property Insurance                Issue Date: SEPTEMBER 4, 2019                                                                         continued
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Premises Summary
(continued)
                                                        MORTGAGEE:               BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                 LOSS PAYEE,
                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                                        LOSS PAYEE:              BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                 LOSS PAYEE,
                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                                        LOSS PAYEE:              JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                 270 PARK AVE-43RD FLOOR
                                                                                 NEW YORK, NY 10017-2014

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            PREMISES # 16                55 COVENTRY STREET
                                               SOUTHBANK, VIC 3006 AUSTRALIA
                                                        MORTGAGEE:               BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                 LOSS PAYEE,
                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                                        MORTGAGEE:               JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                 270 PARK AVE-43RD FLOOR
                                                                                 NEW YORK, NY 10017-2014
                                                        LOSS PAYEE:              JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                 270 PARK AVE-43RD FLOOR
                                                                                 NEW YORK, NY 10017-2014
                                                        LOSS PAYEE:              BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                 LOSS PAYEE,
                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091

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             PREMISES # 17                    633 W 27TH ST
                                              NEW YORK, NEW YORK 10001
                                              COUNTY OF NEW YORK
                                                        MORTGAGEE                BARCLAYS BANK PLC, AS FIRST I .TFN ADMINISTRATIVE,
                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                 LOSS PAYEE,
                                                                                 745 SEVENTH AVENUE NEW YORK NY 10091
                                                        MORTGAGEE                JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                 270 PARK AVE-43RD FLOOR
                                                                                 NEW YORK, NY 10017-2014




     Property insurance                          Issue Date: SEPTEMBER 4, 2019                                                                  continued
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                                                 Effective Date                     JUNE 30, 2019

                                                 Policy Number                      3584-70-15 BAL

                                     .......................................                       ....................................................................

Premises Summary
 (continued)
                                                          LOSS PAYEE:                         JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                              & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                              270 PARK AVE-43RD FLOOR
                                                                                              NEW YORK, NY 10017-2014
                                                          LOSS PAYEE:                         BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                              AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                              LOSS PAYEE,
                                                                                              745 SEVENTH AVENUE, NEW YORK NY 10091

SISSW:MINAMMV4                                                                                                                                                                                    =VS

              PREMISES # 18                     25749 SW CANYON CREEK RD
                                                SUITE 100
                                                WILSONVILLE, OREGON 97070
                                                COUNTY OF WASHINGTON
                                                          MORTGAGEE:                         BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                             AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                             LOSS PAYEE,
                                                                                             745 SEVENTH AVENUE, NEW YORK NY 10091
                                                          MORTGAGEE:                         JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                             & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                             270 PARK AVE-43RD FLOOR
                                                                                             NEW YORK, NY 10017-2014
                                                          LOSS PAYEE:                        JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                             & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                             270 PARK AVE-43RD FLOOR
                                                                                             NEW YORK, NY 10017-2014
                                                          LOSS PAYEE                         BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                             AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                             LOSS PAYEE,
                                                                                             745 SEVENTH AVENUE, NEW YORK NY 10091

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             PREMISES # 19                      7 MCCABE PLACE
                                                SILK STUDIOS
                                                WILLOUGHBY, 2068 AUSTRALIA




     Property insurance                            Issue Data: SEPTEMBER 4, 2019                                                                                                                 continued
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Premises Summary
(continued)
                                              MORTGAGEE                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                          LOSS PAYEE,
                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091
                                              MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                          & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                          270 PARK AVE-43RD FLOOR
                                                                          NEW YORK, NY 10017-2014
                                              LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                          & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                          270 PARK AVE-43RD FLOOR
                                                                          NEW YORK, NY 10017-2014
                                              LOSS PAYEE                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                          LOSS PAYEE,
                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091

ALMIMMOSS:M,.firRWAWSXMAINg*..       .V.VMSSOMIZMARVS:::MAMINACZMZSZMYCZEcit=0MWSOZZSM        AMS.4W:::MMAMMAZW,VAMWM.W.WAVOZMINDVMSAW

         PREMISES # 20                HEMMEMAWEG 22
                                      9076 PH
                                      BUILDING 1 AND BUILDING 2
                                      SENT ANNAPAROCHIE, NETHERLANDS
                                              MORTGAGEE                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE
                                                                          LOSS PAYEE,
                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091
                                              MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                          & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                          270 PARK AVE-43RD FLOOR
                                                                          NEW YORK, NY 10017-20I4
                                              LOSS PAYEE                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                          & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                          270 PARK AVE-43RD FLOOR
                                                                          NEW YORK, NY 10017-2014
                                              LOSS PAYEE                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                          LOSS PAYEE,
                                                                          745 SEVENTH AVENUE NEW YORK NY 10091

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         PREMISES # 21                    30-31 MOUNT STREET
                                          DUBLIN, IRELAND
                                              MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                          LOSS PAYEE
                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091




   Properly Insurance                      Issue Date SEPTEMBER 4, 2019                                                       continued
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                                             Effective Date                           JUNE 30, 2019

                                             Policy Number                            3584-70-15 BAL

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Premises Summary
(continued)
                                                       MORTGAGEE                                JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                                270 PARK AVE-43RD FLOOR
                                                                                                NEW YORK, NY 10017-2014
                                                       LOSS PAYEE:                              JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                270 PARK AVE-43RD FLOOR
                                                                                                NEW YORK, NY 10017-2014
                                                       LOSS PAYEE:                              BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                                LOSS PAYEE,
                                                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

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           PREMISES # 22                     41 UPPER MOUNT STREET
                                             DUBLIN, IRELAND
                                                       MORTGAGEE:                               BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                                LOSS PAYEE,
                                                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                                       MORTGAGEE:                               JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                270 PARK AVE-43RD FLOOR
                                                                                                NEW YORK, NY 10017-2014
                                                       LOSS PAYEE:                              JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                270 PARK AVE-43RD FLOOR
                                                                                                NEW YORK, NY 10017-2014
                                                       LOSS PAYEE                               BARCLAYS BANK PLC, AS FIRST I .TFN ADMINISTRATIVE,
                                                                                                AGENT & FIRST LIEN COLLA FERAL AGENT, MORTGAGEE &
                                                                                                LOSS PAYEE,
                                                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

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           PREMISES # 23                    ARDMORE STUDIOS
                                            HERBERT ROAD
                                            BRAY, IRELAND




    Property Insurance                        Issue Date: SEPTEMBER 4, 2019                                                                                                       continued
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Premises Summary
(continued)
                                         MORTGAGEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                    AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                    LOSS PAYEE,
                                                                    745 SEVENTH AVENUE, NEW YORK NY 10091
                                         MORTGAGEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                    & COLLA fERAL, MORTGAGEE & LOSS PAYEE
                                                                    270 PARK AVE-43RD FLOOR
                                                                    NEW YORK, NY 10017-2014
                                         LOSS PAYEE:                JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                    & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                    270 PARK AVE-43RD FLOOR
                                                                    NEW YORK, NY 10017-2014
                                         LOSS PAYEE:                BARCLAYS BANK PLC, AS FIRST I ITN ADMINISTRATIVE,
                                                                    AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                    LOSS PAYEE,
                                                                    745 SEVENTH AVENUE, NEW YORK NY 10091

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          PREMISES # 24            UNIT EI/FI 0
                                   NETWORK BUSINESS PARK
                                   KILCOOLE, IRELAND
                                        MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                    AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE
                                                                    LOSS PAYEE,
                                                                    745 SEVENTH AVENUE, NEW YORK NY 10091
                                        MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                    & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                    270 PARK AVE-43RD FLOOR
                                                                    NEW YORK, NY 10017-2014
                                        LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                    & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                    270 PARK AVE-43RD FLOOR
                                                                    NEW YORK, NY 10017-2014
                                        LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                    AGENT & FIRST I JFN COLLATERAL AGENT, MORTGAGEE &
                                                                    LOSS PAYEE,
                                                                    745 SEVENTH AVENUE, NEW YORK NY 10091

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         PREMISES # 25             950 YEOVIL ROAD
                                   SLOUGH, SL1 4NH UNITED KINGDOM
                                        MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                    AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                    LOSS PAYEE,
                                                                    745 SEVENTH AVENUE, NEW YORK NY 10091




   Properly Insurance               Issue Date: SEPTEMBER 4, 2019                                                continued
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                               Declarations

                               Effective Date           JUNE 30, 2019

                               Policy Number             3584-70-15 BAL

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                                         AZZZAMMAVAM:=40YAMX"

Premises Summary
(continued)
                                    MORTGAGEE                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL, MORTGAGEE & LOSS PAYEE                         j
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

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        PREMISES # 26          4725 CALLE QUETZAL
                               UNIT B
                               CAMARILLO, CALIFORNIA 93012
                               COUNTY OF VENTURA
                                    MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                    MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

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         PREMISES # 27         WINGEPARK 17
                               ROTSELAAR, 3110 BELGIUM




  Properly insurance            issue Date: SEPTEMBER 4, 2019                                                    continued
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Premises Summary
(continued)
                                           MORTGAGEE                        BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                            LOSS PAYEE,
                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091
                                           MORTGAGEE:                       JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                            & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                            270 PARK AVE-43RD FLOOR
                                                                            NEW YORK, NY 10017-2014
                                           LOSS PAYEE:                      JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                            & COLLA FERAL, MORTGAGEE & LOSS PAYEE
                                                                            270 PARK AVE-43RD FLOOR
                                                                            NEW YORK, NY 10017-2014
                                           LOSS PAYEE                       BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                            LOSS PAYEE,
                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091

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           PREMISES # 28            OKERN TORGVEI 13
                                    OSLO, NORWAY
                                           MORTGAGEE                        BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE.,
                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE R,
                                                                            LOSS PAYEE,
                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091
                                           MORTGAGEE:                       JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                            & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                            270 PARK AVE-43RD FLOOR
                                                                            NEW YORK, NY 10017-2014
                                           LOSS PAYEE:                      JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                            & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                            270 PARK AVE-43RD FLOOR
                                                                            NEW YORK, NY 10017-2014
                                           LOSS PAYEE:                      BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                            LOSS PAYEE,
                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091

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          PREMISES # 29             RANHAMMARSVAGEN 12
                                    BROMMA, SWEDEN
                                           MORTGAGEE                        BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                            LOSS PAYEE,
                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091




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                                                    Effective Date                                  JUNE 30, 2019

                                                    Policy Number                                   3584-70-15 BAL

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Premises Summary
(continued)
                                                              MORTGAGEE                                           JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                                  & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                                  270 PARK AVE-43RD FLOOR
                                                                                                                  NEW YORK, NY 10017-2014
                                                              LOSS PAYEE                                          JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                                  & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                                  270 PARK AVE-43RD FLOOR
                                                                                                                  NEW YORK, NY 10017-2014
                                                              LOSS PAYEE                                          BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                                                  AGENT & FIRST I IF.N COLLATERAL AGENT, MORTGAGEE &
                                                                                                                  LOSS PAYEE,
                                                                                                                  745 SEVENTH AVENUE, NEW YORK NY 10091

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            PREMISES # 30                          BULTGATAN 31
                                                   KUNGALV, SWEDEN
                                                              MORTGAGEE                                          BARCLAYS BANK PLC, AS FIRST I.IF.N ADMINISTRATIVE,
                                                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                                                 LOSS PAYEE,
                                                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                                             MORTGAGEE                                           JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                                 270 PARK AVE-43RD FLOOR
                                                                                                                 NEW YORK, NY 10017-2014
                                                              LOSS PAYEE                                         JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                                 270 PARK AVE-43RD FLOOR
                                                                                                                 NEW YORK, NY 10017-2014
                                                             LOSS PAYEE                                          BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                                                 LOSS PAYEE,
                                                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091

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            PREMISES # 31                          AM NORDRING 26
                                                   MUNCHEN, 80807 GERMANY




     Property Insurance                               Issue Date: SEPTEMBER 4, 2019                                                                                                                   continued
    Form 80-02-0280 (Ed. 7-03)                        Propeny - Schedule Of Mortgagees And Loss Payees                                                                                                Page 19
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Premises Summary
(continued)
                                    MORTGAGEE                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                    MORTGAGEE                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    LOSS PAYEE;                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091


         PREMISES # 32          LINDENSTRASSE 2
                                VOLKETSWIL, 8604 SWITZERLAND
                                    MORTGAGEE                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE *
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                    MORTGAGEE                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    LOSS PAYEE                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091

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         PREMISES # 33          UUTISKATU 2
                                HELSINKI, 00240 FINLAND
                                    MORTGAGEE                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091




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 Premises Summary
 (continued)
                                                  MORTGAGEE:                       JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                   & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                   270 PARK AVE-43RD FLOOR
                                                                                   NEW YORK, NY 10017-2014
                                                  LOSS PAYEE:                      JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                   & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                   270 PARK AVE-43RD FLOOR
                                                                                   NEW YORK, NY 10017-20[4
                                                  LOSS PAYEE:                      BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                   AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                   LOSS PAYEE,
                                                                                   745 SEVENTH AVENUE, NEW YORK NY 10091

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            PREMISES # 34                  SANDSKERVEIEN 1221
                                           OSLO, 0484 NORWAY
                                                  MORTGAGEE:                       BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                   AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                   LOSS PAYEE,
                                                                                   745 SEVENTH AVENUE, NEW YORK NY 10091
                                                 MORTGAGEE:                        JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                   & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                   270 PARK AVE-43RD FLOOR
                                                                                   NEW YORK, NY 10017-2014
                                                 LOSS PAYEE:                       JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                   & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                   270 PARK AVE-43RD FLOOR
                                                                                   NEW YORK, NY 10017-2014
                                                 LOSS PAYEE:                       BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                   AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                   LOSS PAYEE,
                                                                                   745 SEVENTH AVENUE, NEW YORK NY 10091

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           PREMISES # 35                  DOCKLAND STUDIOS MELBOURNE PTY LTD
                                          476 DOCKLANDS DRIVE
                                          DOCKLANDS, VIC 3008 AUSTRALIA




    Property Insurance                       Issue Date: SEPTEMBER 4, 2019                                                                   continued
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    Premises Summary
    (continued)
                                        MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE.
                                                                    AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                    LOSS PAYEE,
                                                                    745 SEVENTH AVENUE, NEW YORK NY 10091
                                        MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                    & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                    270 PARK AVE-43RD FLOOR
                                                                    NEW YORK. NY 10017-2014
                                        LOSS PAYEE                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                    & COLLATERAL MORTGAGEE & LOSS PAYEE
L                                                                   270 PARK AVE- 43RD FLOOR
                                                                    NEW YORK, NY 10017-2014
                                        LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                    AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                    LOSS PAYEE,
                                                                    745 SEVENTH AVENUE, NEW YORK NY 10091


            PREMISES # 36           NIJVERHEIDSTRAAT 17
                                    LOKEREN, 9160 BELGIUM
                                        MORTGAGEE                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
                                        MORTGAGEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014
                                        LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014
                                        LOSS PAYEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
J                                                                    AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 1009

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            PREMISES # 37           FAGERSTAGATAN 21
                                    SPANGA, 163 53 SWEDEN
                                        MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 1009




       Property Insurance            Issue Date: SEPTEMBER 4, 2019                                          continued
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Premises Summary
(continued)
                                    MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

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        PREMISES # 38          8 DALMORE DRIVE
                               SCORESBY, AUSTRALIA
                                    MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST TEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                    MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

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       PREMISES # 39           RIIHIMAEKIVEJ 6
                               9200 AALBORG SV
                               AALBORG SV, DENMARK




  Property Insurance            Issue Date: SEPTEMBER 4, 2019                                                   continued
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Premises Summary
(continued)
                                                   MORTGAGEE:                        BARCLAYS BANK PLC, AS FIRST J .IFN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
                                                   MORTGAGEE:                        JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                   LOSS PAYEE:                       JPMORGAN CHASE BANK, NA AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                   LOSS PAYEE:                       BARCLAYS BANK PLC AS FIRST J.IEN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091

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            PREMISES # 40                     16129 COVELLO ST
                                              VAN NUYS, CALIFORNIA 91406
                                              COUNTY OF LOS ANGELES
                                                   MORTGAGEE:                        BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
                                                   MORTGAGEE:                        JPMORGAN CHASE BANK, NA AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                   LOSS PAYEE:                       JPMORGAN CHASE BANK, NA AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                   LOSS PAYEE:                       BARCLAYS BANK PLC, AS FIRST J .IFN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091

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            PREMISES # 41                     1 CHANGI NORTH STREET 1
                                              #02-02 & #01-09 & 41-12
                                              SINGAPORE, SINGAPORE
                                                   MORTGAGEE:                        BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091




     Property Insurance                        Issue Date: SEPTEMBER 4, 2019                                                                continued
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(continued)
                                    MORTGAGEE                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                  JPMORGAN CHASE BANK N.A. AS ADMINISTRATIVE AGENT
                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                 270 PARK AVE-43RD FLOOR
                                                                 NEW YORK, NY 10017-2014
                                    LOSS PAYEE                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE.,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091


        PREMISES # 42          14000 ARMINTA ST
                               PANORAMA CITY, CALIFORNIA 91402
                               COUNTY OF LOS ANGFI RS
                                    LOSS PAYEE                   BANK OF THE WEST/DIRECT - LMO DIRECT EQUIPMENT
                                                                 FINANCE
                                                                 2527 CAMINO RAMON/NC-B07-3F-Q
                                                                 SAN RAMON, CA 94583


        PREMISES # 43          6171 MCLEOD DR
                               STE C-F
                               LAS VEGAS, NEVADA 89120
                               COUNTY OF CLARK
                                   LOSS PAYEE                    BANK OF THE WEST/DIRECT - LMO DIRECT EQUIPMENT
                                                                 FINANCE
                                                                 2527 CAMINO RAMON/NC-B07-3F-Q
                                                                 SAN RAMON, CA 94583


        PREMISES # 49          B/110 MICA ST.
                               CAROLE PARK, QLD 4300 AUSTRALIA




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Premises Summary
(continued)
                                                    MORTGAGEE:                               BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                             AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                             LOSS PAYEE,
                                                                                             745 SEVENTH AVENUE, NEW YORK NY 10091
                                                    MORTGAGEE:                              JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                            & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                            270 PARK AVE-43RD FLOOR
                                                                                            NEW YORK, NY 10017-2014
                                                    LOSS PAYEE:                             IPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                            & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                            270 PARK AVE-43RD FLOOR
                                                                                            NEW YORK, NY 10017-2014
                                                    LOSS PAYEE:                             BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                            LOSS PAYEE,
                                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091

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             PREMISES # 50                  350 PARRAMATTA RD.
                                            HOMEBUSH, NSW 2140 AUSTRALIA
                                                    MORTGAGEE:                              BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE IL
                                                                                            LOSS PAYEE,
                                                                                            745 SEVENTH AVENUE NEW YORK NY 10091
                                                    MORTGAGEE:                              IPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                            & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                            270 PARK AVE-43RD FLOOR
                                                                                            NEW YORK, NY 10017-2014
                                                    LOSS PAYEE:                             JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                            & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                            270 PARK AVE-43RD FLOOR
                                                                                            NEW YORK, NY 10017-2014
                                                    LOSS PAYEE:                             BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                            LOSS PAYEE,
                                                                                            745 SEVENTH AVENUE., NEW YORK NY 10091

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             PREMISES # 51                  1001 NOLEN DR
                                            GRAPEVINE., TEXAS 76051
                                            COUNTY OF TARRANT
                                                    MORTGAGEE:                              BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                            AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                            LOSS PAYEE.,
                                                                                            745 SEVENTH AVENUE, NEW YORK NY 10091




     Properly Insurance                       Issue Date: SEPTEMBER 4, 2019                                                                                                    continued
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CHLJEllEr                                    Properly Insurance

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                                             Effective Date                   JUNE 30, 2019

                                             Policy Number                    3584-70-15 BAL

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Premises Summary
(continued)
                                                   MORTGAGEE:                           JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                        & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                        270 PARK AVE-43RD FLOOR
                                                                                        NEW YORK, NY 10017-2014
                                                   LOSS PAYEE:                          JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                        & COLLATERAL MORTGAGEE& LOSS PAYEE
                                                                                        270 PARK AVE-43RD FLOOR
                                                                                        NEW YORK, NY 10017-2014
                                                    LOSS PAYEE:                         BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                        LOSS PAYEE,
                                                                                        745 SEVENTH AVENUE, NEW YORK NY 10091

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           PREMISES # 52                    2701 N ONTARIO ST
                                            BURBANK, CALIFORNIA 91504
                                            COUNTY OF LOS ANGELES
                                                   MORTGAGEE:                           BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                        LOSS PAYEE,
                                                                                        745 SEVENTH AVENUE, NEW YORK NY 10091
                                                   MORTGAGEE:                           JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                        & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                        270 PARK AVE-43RD FLOOR
                                                                                        NEW YORK, NY 10017-2014
                                                   LOSS PAYEE:                          JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                        & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                        270 PARK AVE-43RD FLOOR
                                                                                        NEW YORK, NY 10017-2014
                                                   LOSS PAYEE:                          BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                        LOSS PAYEE,
                                                                                        745 SEVENTH AVENUE, NEW YORK NY 10091

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           PREMISES # 53                    7720 AIRPORT BUSINESS PKWY
                                            VAN NUYS, CALIFORNIA 91406
                                            COUNTY OF LOS ANGELES




    Property Insurance                        Issue Date: SEPTEMBER 4, 2019                                                                                                    continued
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     Premises Summary
     (continued)
                                                            MORTGAGEE:                           BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                                 LOSS PAYEE,
                                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091
                                                            MORTGAGEE                            JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                                 270 PARK AVE-43RD FLOOR
                                                                                                 NEW YORK, NY 10017-2014
                                                            LOSS PAYEE                           JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                 270 PARK AVE-43RD FLOOR
                                                                                                 NEW YORK, NY 10017-2014
                                                            LOSS PAYEE:                          BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                                 LOSS PAYEE,
                                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091

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               PREMISES # 54                       SOUTH STREET SEAPORT
                                                   PIER 17 BUILDING
                                                   NEW YORK, NEW YORK 10038
                                                   COUNTY OF NEW YORK
                                                            MORTGAGEE                            BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE
                                                                                                 LOSS PAYEE,
                                                                                                 745 SEVENTH AVENUE. NEW YORK NY 10091
                                                            MORTGAGEE                            JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                 & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                                 270 PARK AVE-43RD FLOOR
                                                                                                 NEW YORK, NY 10017-2014
                                                            LOSS PAYEE                           JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                                 & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                                 270 PARK AVE-43RD FLOOR
                                                                                                 NEW YORK, NY 10017-2014
                                                            LOSS PAYEE:                          BARCLAYS BANK PLC, AS FIRST LEN ADMINISTRATIVE,
                                                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                                 LOSS PAYEE,
                                                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091

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               PREMISES # 55                       UNIT E2 SUSSEX MANOR BUSINESS PARK
                                                   GATWICK ROAD
                                                   CRAWLEY, SUSSEX RH109NH, UNITED KINGDOM




Li      Property Insurance                            Issue Date: SEPTEMBER 4, 2019                                                           continued
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                                 Effective Date              JUNE 30, 2019

                                 Policy Number               3584-70-15 BAL

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Premises Summary
(continued)
                                       MORTGAGEE:                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
                                       MORTGAGEE:                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014
                                       LOSS PAYEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014
                                       LOSS PAYEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091

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        PREMISES # 56            BUILDING 4, 659 YINXING ROAD
                                 PUTUO DISTRICT
                                 SHANGHAI 201802., PEOPLES REP - CHINA
                                      MORTGAGEE:                     BARCLAYS BANK PLC, AS HRST LIEN ADMINISTRATIVE,
                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
                                      MORTGAGEE:                     JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014
                                      LOSS PAYEE:                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                     & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                     270 PARK AVE-43RD FLOOR
                                                                     NEW YORK, NY 10017-2014
                                      LOSS PAYEE:                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                     LOSS PAYEE,
                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091




  Property Insurance              Issue Date: SEPTEMBER 4, 2019                                                                       continued
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      Premises Summary
      (continued)

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                PREMISES # 57                CALLE CIENCIAS N 153-155
                                             08908 L'HOSPITALET DE
                                             LLOBREGAT, SPAIN
                                                 MORTGAGEE:                          BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE.,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
                                                  MORTGAGEE:                         JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL. MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                  LOSS PAYEE:                        JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                  LOSS PAYEE:                        BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091

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                 PREMISES # 58               ARGON 21A, 4751 XC IN OUD GASTEL
                                             AMSTERDAM, NETHERLANDS
                                                  MORTGAGEE:                         BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091
                                                  MORTGAGEE                          JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                  LOSS PAYEE:                        JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                     & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                     270 PARK AVE-43RD FLOOR
                                                                                     NEW YORK, NY 10017-2014
                                                  LOSS PAYEE:                        BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                     AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                     LOSS PAYEE,
                                                                                     745 SEVENTH AVENUE, NEW YORK NY 10091

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                PREMISES # 59                MEDIA CENTER JOOP VAN DEN ENDEPLEIN 1
                                             HILVERSUM, NETHERLANDS




          Property Insurance                  Issue Date: SEPTEMBER 4, 2019                                                                             continued
          Form 804)2-0290 (Ed. 7-03)          Property - Schedule Of Mortgagees And Loss Payees                                                         Page 30
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                              Declarations

                              Effective Date            JUNE 30, 2019

                              Policy Number             3584-70-15 BAL

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Premises Summary
(continued)
                                   MORTGAGEE                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                               AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                               LOSS PAYEE,
                                                               745 SEVENTH AVENUE, NEW YORK NY 10091
                                   MORTGAGEE                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                               & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                               270 PARK AVE-43RD FLOOR
                                                               NEW YORK, NY 10017-2014
                                   LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                               & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                               270 PARK AVE-43RD FLOOR
                                                               NEW YORK, NY 10017-2014
                                   LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST 1.JFN ADMINISTRATIVE,
                                                               AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                               LOSS PAYEE,
                                                               745 SEVENTH AVENUE, NEW YORK NY 10091


        PREMISES # 60         DATA CENTER, JOOP VAN DEN ENDEPLEIN 9
                              HILVERSUM, NETHERLANDS
                                   MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                               AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                               LOSS PAYEE,
                                                               745 SEVENTH AVENUE, NEW YORK NY 10091
                                  MORTGAGEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                               & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                               270 PARK AVE-43RD FLOOR
                                                               NEW YORK, NY 10017-2014
                                   LOSS PAYEE:                 JPMORGAN CHASE BANK, NA. AS ADMINISTRATIVE AGENT
                                                               & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                               270 PARK AVE-43RD FLOOR
                                                               NEW YORK, NY 10017-2014
                                   LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                               AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                               LOSS PAYEE,
                                                               745 SEVENTH AVENUE, NEW YORK NY 10091




  Property Insurance           Issue Date: SEPTEMBER 4, 2019                                           continued
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Premises Summary
(continued)
        PREMISES # 61                STUDIOCENTRUM, ANDRE VAN DUINBOULEVARD 2-4
                                     HILVERSUM, NETHERLANDS
                                           MORTGAGEE                     BARCLAYS BANK PLC, AS FIRST I .IFN ADMINISTRATIVE,
                                                                         AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                         LOSS PAYEE,
                                                                         745 SEVENTH AVENUE, NEW YORK NY 10091
                                           MORTGAGEE:                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                         & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                         270 PARK AVE-43RD FLOOR
                                                                         NEW YORK, NY 10017-2014
                                           LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                        & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                        270 PARK AVE-43RD FLOOR
                                                                        NEW YORK, NY 10017-2014
                                           LOSS PAYEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                         AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                         LOSS PAYEE,
                                                                         745 SEVENTH AVENUE, NEW YORK NY 10091

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              PREMISES # 62          REPORTAGECENTRUM LEEN JONGEWAARDWEG 8
                                     HILVERSUM, NETHERLANDS
                                           MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                        AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE a
                                                                        LOSS PAYEE,
                                                                        745 SEVENTH AVENUE, NEW YORK NY 10091
                                           MORTGAGEE                     JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                         & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                         270 PARK AVE-43RD FLOOR
                                                                         NEW YORK, NY 10017-2014
                                           LOSS PAYEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                         & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                         270 PARK AVE-43RD FLOOR
                                                                         NEW YORK, NY 10017-2014
                                           LOSS PAYEE                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                         AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                         LOSS PAYEE,
                                                                         745 SEVENTH AVENUE, NEW YORK NY 10091

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              PREMISES # 63          UTOPIA CONTAINER, JOOP VAN DEN ENDEPLEIN 7-9
                                     HILVERSUM, NETHERLANDS
                                           MORTGAGEE                     BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                         AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                         LOSS PAYEE,
                                                                         745 SEVENTH AVENUE, NEW YORK NY 10091




     Property Insurance                Issue Date: SEPTEMBER 4, 2019                                                           continued
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CHUBB°                                                   Property Insurance

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                                                         Effective Date            JUNE 30, 2019

                                                         Policy Number             3584.70-15 BAL



Premises Summary
(continued)
                                                              MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                          & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                          270 PARK AVE-43RD FLOOR
                                                                                          NEW YORK, NY 10017-2014
                                                              LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                          & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                                          270 PARK AVE-43RD FLOOR
                                                                                          NEW YORK, NY 10017-2014
                                                              LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                          LOSS PAYEE,
                                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091

                                                                                   Antmomo.wx:ms—tausf::::•:=.:fmemeammegosamtbumcamwsmammem
             PREMISES # 64                               ENDEMOL STUDIOS MEDIARENA 2
                                                         AMSTERDAM, NETHERLANDS
                                                              MORTGAGEE:                  BARCLAYS BANK PLC. AS FIRST LIEN ADMINISTRATIVE,
                                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                          LOSS PAYEE,
                                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091
                                                              MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                          & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                          270 PARK AVE-43RD FLOOR
                                                                                          NEW YORK, NY 10017-2014
                                                              LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                                          & COLLATERAL, MORTGAGEE & LOSS PAYEE
                                                                                          270 PARK AVE-43RD FLOOR
                                                                                          NEW YORK, NY 10017-2014
                                                              LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                                          AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                                          LOSS PAYEE,
                                                                                          745 SEVENTH AVENUE, NEW YORK NY 10091

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             PREMISES # 65                               WESTERGASFABRIEK, POLONCEAUKADE 27
                                                         AMSTERDAM, NETHERLANDS




    Property Insurance                                    Issue Date: SEPTEMBER 4, 2019                                                                                continued
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CHUBB'
Premises Summary
(continued)
                                    MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                    MORTGAGEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                 JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

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        PREMISES # 66           SBS, RIETLANDPARK 333
                                AMSTERDAM, NETHERLANDS
                                    MORTGAGEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE.,
                                                                AGENT & HRST LIRN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091
                                    MORTGAGEE                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                270 PARK AVE-43RD FLOOR
                                                                NEW YORK, NY 10017-2014
                                    LOSS PAYEE:                 BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                LOSS PAYEE,
                                                                745 SEVENTH AVENUE, NEW YORK NY 10091

NAVAWAVMSNO.                                R                                       4M3VONSOSIUMMMOSAWMAMMWNSSONNSM

        PREMISES # 67           TMG STUDIO, BOLSTOEN 22 TE
                                AMSTERDAM, NETHERLANDS
                                    MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                 AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                 LOSS PAYEE,
                                                                 745 SEVENTH AVENUE, NEW YORK NY 10091




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CHUBB'                              Property Insurance

                                     Declarations
                                                                                                                                                 rs
                                    Effective Date             JUNE 30, 2019

                                    Policy Number              3584-70-15 BAL

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Premises Summary                .
(continued)
                                         MORTGAGEE:                    JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                       & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                       270 PARK AVE-43RD FLOOR
                                                                                                                                                 a
                                                                       NEW YORK, NY 10017-2014
                                         LOSS PAYEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                       & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                       270 PARK AVE-43RD FLOOR
                                                                       NEW YORK, NY 10017-2014
                                         LOSS PAYEE                    BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                       AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                       LOSS PAYEE,
                                                                       745 SEVENTH AVENUE, NEW YORK NY 10091

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                           .                                                :mos                          sometwasommeatosz::::mmaawsme
        PREMISES # 68       AKN STUDIO'S GRAVELANDSEWEG 8 TE
                            HILVERSUM, NETHERLANDS
                                         MORTGAGEE:                   BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                      AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                      LOSS PAYEE,
                                                                      745 SEVENTH AVENUE, NEW YORK NY 10091
                                         MORTGAGEE:                   JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                      & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                      270 PARK AVE-43RD FLOOR
                                                                      NEW YORK, NY 10017-2014
                                         LOSS PAYEE:                  JPMORGAN CHASE BANK, N.A. AS ADMINISTRATIVE AGENT
                                                                      & COLLATERAL MORTGAGEE & LOSS PAYEE
                                                                      270 PARK AVE-43RD FLOOR
                                                                      NEW YORK, NY 10017-2014
                                         LOSS PAYEE:                  BARCLAYS BANK PLC, AS FIRST LIEN ADMINISTRATIVE,
                                                                      AGENT & FIRST LIEN COLLATERAL AGENT, MORTGAGEE &
                                                                      LOSS PAYEE,
                                                                      745 SEVENTH AVENUE, NEW YORK NY 10091

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         PREMISES # 69              3/F & 8/F, REGENCY CENTRE, PHASE 2,
                                    41 -43 WONG CHUK HANG ROAD
                                    WONG CHUK HANG, HONG KONG




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